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  EXHIBIT Q
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1                  IN THE UNITED STATES DISTRICT COURT                  1                            INDEX TO WITNESSES
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
2                                                                       2    ANTHONY BARASKY          DIRECT CROSS REDIRECT RECROSS
     ANTHONY BARASKY,                  :
3                 Plaintiff                                             3    Examination by:
                                       :
4                                                                       4     Ms. Laughlin               5       --        --     --
          vs.                          :
5                                                                       5     Mr. White                 --       134       --     --
                                       :
6    KEVIN DENT, TYSON HAVENS,             CASE NO. 4:21-CV-02041       6     Mr. Kozlowski             --       147       --     --
     JOSHUA BELL, CLINTON              :
7    GARDNER, CHRISTOPHER                                               7     Mr. Gryskewicz            --       151       --     --
     KRINER, JOSEPH HOPE,              :
8    LYCOMING COUNTY, OLD                                               8
     LYCOMING TOWNSHIP; and            :
9    CITY OF WILLIAMSPORT,                                              9
                     Defendants        :
10                                                                      10

11                                                                      11

12                                                                      12

13              Deposition of:       ANTHONY BARASKY                    13

14              Taken by         :   Defendants                         14

15              Before           :   Ervin S. Blank                     15
                                     Reporter-Notary Public
16                                                                      16
                Beginning        :   March 22, 2024; 1:06 p.m.
17                                                                      17
                Place            :   McCormick Law Firm
18                                   835 West Fourth Street             18
                                     Williamsport, Pennsylvania
19                                                                      19

20                                                                      20

21                                                                      21

22   COUNSEL PRESENT:                                                   22

23       LEONARD GRYSKEWICZ, JR., ESQUIRE                               23
         Lampman Law
24       2 Public Square                                                24
         Wilkes-Barre, Pennsylvania 18701
25            For - Plaintiff                                           25


                                                                    2                                                                    4
1    COUNSEL PRESENT: (CONTINUED)                                       1                              INDEX TO EXHIBITS
2        AUSTIN WHITE, ESQUIRE                                          2    FOR - DEFENDANTS                          MARKED ADMITTED
         McCormick Law Firm
3        835 West Fourth Street                                         3    Barasky Deposition Exhibit No. 1               57    --
         Williamsport, Pennsylvania 17701
4              For - Defendants Kevin Dent and Tyson Havens             4    Barasky Deposition Exhibit No. 2               74    --
5        SHAWNA R. LAUGHLIN, ESQUIRE                                    5    Barasky Deposition Exhibit No. 3               75    --
         William J. Ferren & Associates
6        P.O. Box 2903                                                  6    Barasky Deposition Exhibit No. 4               92    --
         Hartford, Connecticut 06104-2903
7              For - Defendants Joshua Bell, Clinton Gardner            7    Barasky Deposition Exhibit No. 5               93    --
                  and City of Williamsport
8                                                                       8    Barasky Deposition Exhibit No. 6               95    --
         MARK J. KOZLOWSKI, ESQUIRE
9        Marshall Dennehey                                              9    Barasky Deposition Exhibit No. 7               99    --
         P.O. Box 3118
10       Moosic, Pennsylvania 18507                                     10   Barasky Deposition Exhibit No. 8               102   --
              For - Defendants Old Lycoming Township,
11                Joseph Hope and Christopher Kriner                    11   Barasky Deposition Exhibit No. 9               105   --
12                                                                      12   Barasky Deposition Exhibit No. 10              105   --
13                                                                      13   Barasky Deposition Exhibit No. 11              107   --
14                                                                      14   Barasky Deposition Exhibit No. 12              107   --
15                                                                      15   Barasky Deposition Exhibit No. 13              109   --
16                                                                      16   Barasky Deposition Exhibit No. 14              109   --
17                                                                      17   Barasky Deposition Exhibit No. 15              111   --
18                                                                      18   Barasky Deposition Exhibit No. 16              114   --
19                                                                      19   Barasky Deposition Exhibit No. 17              116   --
20                                                                      20   Barasky Deposition Exhibit No. 18              125   --
21                                                                      21   Barasky Deposition Exhibit No. 19              145   --
22                                                                      22   Barasky Deposition Exhibit No. 20              145   --
23                                                                      23

24                                                                      24

25                                                                      25



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1                                     STIPULATION                  1         Q     I will try to afford you the same courtesy,
2               It is hereby stipulated by and between             2    let you completely answer the question before I move
3    counsel for the respective parties that signing,              3    on to the next one. However, if you take a break
4    sealing, certification and filing are hereby waived;          4    because you're trying to think of something you want
5    and that all objections except as to the form of the          5    to add to your answer, I might mistakenly think that
6    question are reserved to the time of trial.                   6    you were done and move on to the next question. It is
7                                                                  7    not my intent to interrupt you, so if that happens,
8                                        *    *   *                8    let me know, we'll go back to that prior question for
9                                                                  9    as long you need. Okay?
10              ANTHONY BARASKY, called as a witness, having       10        A     Yes.
11   been duly sworn or affirmed, testified as follows:            11        Q     If I ask you a question and you don't hear me
12                               DIRECT EXAMINATION                12   or you don't understand the question, let me know.
13   BY MS. LAUGHLIN:                                              13   I'll repeat it or rephrase it as many times as you
14        Q     Hello, Mr. Barasky.                                14   need. Okay?
15        A     Hi.                                                15        A     Yes.
16        Q     My name is Shawna Laughlin. I represent            16        Q     If I ask you a question and you don't know
17   Joshua Bell and Clinton Gardner with regard to the            17   the answer, you don't remember, you don't recall, let
18   lawsuit that you brought. We're here today to take            18   me know. That's a perfectly fine answer. Okay?
19   your deposition. Can you state your name for the              19        A     Yes.
20   record?                                                       20        Q     I do not want you to guess at an answer. Is
21        A     Yes. My name is Anthony Barasky.                   21   that understood?
22        Q     And have you ever participated in a                22        A     Understood.
23   deposition before?                                            23        Q     If you are able to give me an estimate or an
24        A     No, ma'am.                                         24   average, though, if I'm talking about distance,
25        Q     Okay. I'm going to go over some ground rules       25   speeds, something like that and you're comfortable

                                                               6                                                                   8
1    to help it run smoothly. As you can see, we have the          1    doing so, you can do that. Just let me know it's an
2    court reporter here to your right who's taking down           2    estimate or an average. Okay?
3    everything that's being said. For that reason, you            3         A     Yes.
4    will want to make sure that your answers are verbal.          4         Q     If you need a break for any reason, let us
5    You can nod your head, shrug your shoulders, point at         5    know. We'll be able to accommodate that. I just ask
6    something, but I ask that you accompany that with a           6    if there's a question pending, that you answer that
7    verbal response. Okay?                                        7    question before we take the break. Okay?
8         A     Yes.                                               8         A     Yes.
9         Q     I also ask that you try not to answer a            9         Q     How old are you today?
10   question with uh-huh or huh-uh because when we go back        10        A     I'm 34 years old.
11   to the record, we're not clear on whether that's a yes        11        Q     And do you go by other names?
12   or a no. Okay?                                                12        A     Tony, Anth, Anthony.
13        A     Yes.                                               13        Q     Any nicknames?
14        Q     Now, I know that it's common and when we're        14        A     No.
15   having a conversation, one of those things may slip           15        Q     What's your current address?
16   out, an uh-huh, an huh-uh, someone here at this table         16        A     2001 Newberry Street, Apartment 1.
17   is going to say to you, was that a yes, was that a no.        17        Q     And how long have you lived there?
18   We don't mean to suggest an answer, we just want to,          18        A     Approximately three years.
19   make sure it's clear for the record. Okay?                    19        Q     And where did you live prior to that?
20        A     Yes.                                               20        A     1534 Louisa Street.
21        Q     If I -- I also ask that you wait until I           21        Q     Is that in Williamsport?
22   completely finish the question before you provide your        22        A     Yes.
23   answer because the court reporter can't take down two         23        Q     And how long did you live there?
24   people talking at the same time. Okay?                        24        A     Approximately five years.
25        A     Yes.                                               25        Q     Is that where you were living at the time of


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1    the incident we're here about today?                            1          Q       Correct. You tell me what crimes you were
2         A     Yes.                                                 2    charged or convicted of.
3         Q     Anybody live there with you?                         3          A       I was convicted of a possession with intent
4         A     My mother.                                           4    to deliver.
5         Q     And was she living there also on the date of         5          Q       And what year was that?
6    the incident we're here about today?                            6          A       2008. And I was convicted of possession with
7         A     Yes.                                                 7    intent to deliver.
8         Q     At the Newberry Street apartment, who lives          8          Q       You were convicted?
9    there with you?                                                 9          A       Yes.
10        A     My mother.                                           10         Q       There was a trial?
11        Q     Anyone else?                                         11         A       It was a plea agreement.
12        A     No.                                                  12         Q       And as a result of that conviction, did you
13        Q     Are you currently on any medications or under        13   serve any time?
14   the influence of any kind of substance that would               14         A       Yes.
15   affect your ability to participate in this deposition           15         Q       How much?
16   today? And by participate I mean understand questions           16         A       Approximately three years and four months.
17   and give truthful answers.                                      17         Q       And where did you do that time?
18        A     No, I'm not.                                         18         A       In a state facility.
19        Q     Are you married?                                     19         Q       I'm sorry?
20        A     No.                                                  20         A       State facility.
21        Q     Have you ever been married?                          21         Q       Where was it located?
22        A     No.                                                  22         A       In Houtzdale, Pennsylvania.
23        Q     Do you have any children?                            23         Q       Honesdale?
24        A     Yes.                                                 24         A       Houtzdale. H-O-U-T-Z-D-A-L-E, Pennsylvania.
25        Q     How many?                                            25         Q       And what years were you incarcerated in

                                                                10                                                                     12
1         A     I have two sons.                                     1    Houtzdale?
2         Q     Names and ages?                                      2          A       I believe 2009 was when I got there, until
3         A     J       , 16 years old. N     .                      3    2011, considering I sat in pretrial confinement in the
4         Q     Can you spell that, please?                          4    Lycoming County Prison.
5         A     N        . He's ten right now until tomorrow.        5          Q       I'm sorry. Can you repeat that?
6         Q     Okay. Happy early birthday.                          6          A       Considering I sat in pretrial confinement in
7         A     So he'll be 11 tomorrow. Yeah.                       7    Lycoming County Prison before the 2009. So it would
8         Q     And the third one?                                   8    have been from 2008 to 2009, and then I finished that
9         A     S-           .                                       9    sentence at SCI Quehanna.
10        Q     And how old is he?                                   10         Q       And was there bail set when you were charged
11        A     Ten months.                                          11   with possession with intent to deliver?
12        Q     And do you have any child support obligations        12         A       Yes, I believe so.
13   with regard to any of your three sons?                          13         Q       Do you know what the bail was?
14        A     Yes, I do. For N     .                               14         A       I can't remember the precise number, but it
15        Q     Just for N       ?                                   15   was significantly high. It was in the six figure
16        A     Yes.                                                 16   range.
17        Q     Are there any outstanding child support              17         Q       And you weren't able to post bail and so
18   orders with regard to any of your children?                     18   that's why you were confined pretrial?
19        A     No.                                                  19         A       Correct.
20        Q     Have you ever been charge or convicted of a          20         Q       And what other crimes have you been charged
21   crime?                                                          21   with?
22        A     Yes.                                                 22         A       Possession with intent to deliver.
23        Q     Let's go through what crimes have you been           23         Q       What year?
24   charged or convicted.                                           24         A       2016.
25        A     Is that a question or a statement?                   25         Q       And was there a trial?


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1            A   There wasn't.                                        1            A    No.
2            Q   Was there a plea?                                    2            Q    Was that September 19th of 2016 the incident
3            A   There was.                                           3    that involved the Kmart?
4            Q   And you pled to possession with intent to            4            A    Excuse me?
5    deliver?                                                         5            Q    Do you know if it was September 19th of 2016?
6            A   I pled to possession with intent to deliver,         6            A    I can't remember the specific date, but it
7    criminal mischief, and fleeing and eluding.                      7    was in the year 2016.
8            Q   Fleeing and evading?                                 8            Q    I'm looking at your discovery answers, and it
9            A   Or evading. Sorry.                                   9    looks like you -- it says I was sentenced to 30 months
10           Q   And what was the result of your plea for             10   to eight years incarceration. Is that correct? Is
11   that?                                                            11   that what you recall?
12           A   A period of incarceration.                           12           A    Yes.
13           Q   And how long were you incarcerated?                  13           Q    Any other charges that you've been convicted
14           A   Approximately three years and three months.          14   of or pled to?
15           Q   And where were you incarcerated?                     15           A    No.
16           A   Benner Township.                                     16           Q    So how about -- I have one in -- you had
17           Q   What township?                                       17   talked about 2008. Was there just one? I have
18           A   Benner Township.                                     18   possession of marihuana and drug paraphernalia,
19           Q   Is that where you did all the time?                  19   offense date was May 30th, 2008. Those charges were
20           A   Yes, outside of my pretrial incarceration.           20   dismissed.
21           Q   And was there bail set for that -- for those         21           A    I can't remember.
22   charges in 2016?                                                 22           Q    Do you recall that?
23           A   Initially, no.                                       23           A    I don't remember having any recollection of
24           Q   And were you incarcerated during that time?          24   that.
25           A   I was.                                               25           Q    And then there was the possession with intent

                                                                 14                                                                     16
1            Q   And so you had no bail set. At some point            1    to distribute from October 1st of 2008, sentence, four
2    there was a bail that was set?                                   2    to eight years. Is that what we were talking about
3            A   There was a bail modification.                       3    when you went to Houtzdale?
4            Q   And at that time were you able to post bail?         4            A    Yes.
5            A   I wasn't.                                            5            Q    I also show earlier that year in -- oh, we
6            Q   Do you remember what the bail was at that            6    already talked about that, May 30th. There was a
7    modification?                                                    7    simple possession in March of 2007 that may have been
8            A   150,000.                                             8    dismissed. Do you recall that?
9            Q   Do you know if it was secured or unsecured?          9            A    It's hard for me to remember, honestly. That
10           A   I can't remember.                                    10   was a period of time where a lot of -- such a long
11           Q   The 2016 charges, did that arise out of when         11   time ago.
12   you were fleeing from police and you crashed into the            12           Q    There was -- I also show in your answers
13   side of a Kmart building?                                        13   there was a charge of possession with intent to
14           A   I don't understand the question.                     14   distribute on June 3rd of 2015 that may have been
15           Q   Those charges in 2016, was that after you had        15   dismissed. Do you recall that?
16   fled the police and your vehicle ended up in the side            16           A    Yes.
17   of the Kmart building?                                           17           Q    Any other times where you've been charged and
18           A   That was it, yes. That was the incident.             18   it's been dismissed?
19           Q   Okay. And then after the vehicle crashed             19           A    Not that I can remember.
20   into the Kmart building, you had also fled on foot               20           Q    Other than these two times that we talked
21   from the police?                                                 21   about being incarcerated in 2008 to 2011, and then
22           A   Yes.                                                 22   after the plea in 2016, have you ever been
23           Q   With regard to the 2008 possession charges,          23   incarcerated any other times?
24   was there any fleeing from the police in that                    24           A    After the plea on 2016?
25   instance?                                                        25           Q    Or before. Correct.


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1          A      Was it after or before? I'm confused on the          1           A     No, I didn't have to.
2    question.                                                         2           Q     So it was the same kind of program where you
3          Q      Both. Either before or after.                        3    were doing instruction from the textbook and had
4          A      After, I was incarcerated. Yes.                      4    correspondence in some way with the professor?
5          Q      Okay.                                                5           A     Correct.
6          A      After the 2016.                                      6           Q     It looks like you got your GED from
7          Q      And is that for the incident we're here about        7    Williamsport Area School District?
8    today?                                                            8           A     Yes.
9          A      Correct.                                             9           Q     What was the last grade you completed?
10         Q      Other than that, has there been any other            10          A     Eighth grade.
11   periods where you've been incarcerated?                           11          Q     And then at some point it looks like you
12         A      No.                                                  12   enrolled at Penn Tech?
13         Q      What years were you incarcerated from the            13          A     I did.
14   2016 plea?                                                        14          Q     And when did you enroll at Pennsylvania
15         A      I was incarcerated from 2016 to 2019.                15   College of Technology?
16         Q      What's your highest level of education?              16          A     Approximately 2020.
17         A      I received a certification from an institute         17          Q     Would that have been for the fall semester or
18   for paralegal studies.                                            18   sometime before that?
19         Q      Which institute?                                     19          A     It was for the fall semester.
20         A      Blackstone Career Institute.                         20          Q     And what kind of classes were you going to
21         Q      And where's that located?                            21   take?
22         A      Allentown, Pennsylvania.                             22          A     I was taking -- actually enrolled and
23         Q      What years did you attend that?                      23   participating in business management.
24         A      2018 to 2020.                                        24          Q     So you had already started classes at the
25         Q      If your discovery answers indicate 2017 to           25   time of this incident that we're here about?

                                                                  18                                                                     20
1    2019, are those incorrect or is your recollection                 1           A     Yes.
2    today incorrect?                                                  2           Q     And how many classes were you enrolled in at
3          A      It's a possibility that my memory is hazy on         3    that time?
4    it.                                                               4           A     I can't remember the exact amount. It was a
5          Q      But somewhere in between 2017 and 2020 is            5    few.
6    when you attended and got your paralegal certificate?             6           Q     Do you know if it was -- did you have a full
7          A      Correct. Because it initially started as a           7    schedule of five classes or was it less?
8    college correspondence while I was incarcerated that I            8           A     It was broken up into different days and
9    completed once I was released. So I could -- I could              9    different times. A lot of it was my first semester.
10   possibly be mixing the time up a little bit.                      10   First couple weeks was introductory stuff.
11         Q      And was that while you were incarcerated in          11          Q     And when you enrolled at Penn Tech, did you
12   Benner Township?                                                  12   fill out any applications for financial aid?
13         A      Yes.                                                 13          A     I did.
14         Q      And was that something that you were able to         14          Q     And were you able to secure loans?
15   do online or did somebody come in to teach?                       15          A     I was.
16         A      It was through the educational department            16          Q     And did they cover your full tuition?
17   there where -- there was correspondence through a                 17          A     Not too versed on how tuition works, but I
18   professor, but the textbooks had to come through the              18   didn't have any obligations for tuition. Once the
19   education department to get them like approved and                19   loans were approved, I was able to attend.
20   cleared.                                                          20          Q     So you didn't owe anything out of pocket?
21         Q      Did you actually have to attend classes?             21          A     No.
22         A      No, I was -- it wasn't something that I had          22          Q     And did you return to Penn Tech at any point?
23   to attend.                                                        23          A     I was unable to.
24         Q      And how about after you were released, did           24          Q     How come?
25   you attend classes to finish up that certificate?                 25          A     Because during my incarceration because of me


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1    not being present in class, my loans were moved into             1    why I wasn't forwarded or me even finding out the
2    default. So when I tried to go back to re-enroll,                2    status of my mail and what exactly came. I wasn't
3    because of that default situation, I was unable to               3    really thinking about that type of thing.
4    resume my studies.                                               4          Q     Now, you had been incarcerated two prior
5          Q     Who were your loans through?                         5    times prior to the -- what we're here about today.
6          A     I can't remember.                                    6    Now, on those two other occasions did you also have
7          Q     Did you get any grants that paid for the             7    bills that you had to pay during those incarcerations
8    education that you didn't have to pay back?                      8    where you'd still be getting letters?
9          A     I can't remember, honestly.                          9          A     I can't remember.
10         Q     And these loans that you had, you had an             10         Q     So would you have a rent payment back in 2008
11   obligation to pay them back while you were still                 11   when you were charged with possession with intent to
12   attending school?                                                12   deliver?
13         A     No, there was no obligation as far as the            13         A     No.
14   payment goes. From my understanding, which I could be            14         Q     Would you have had any car payments?
15   wrong, was it was to be repaid upon completion of my             15         A     No.
16   studies.                                                         16         Q     Any insurance payments?
17         Q     Okay.                                                17         A     No.
18         A     But I didn't have like a monthly payment or          18         Q     Utilities?
19   anything, to my knowledge, that I had to -- kind of              19         A     No.
20   access to a portal to kind of keep us updated on the             20         Q     And is that because you were living with your
21   status of our loans and such.                                    21   mother at the time?
22         Q     So when did you first become aware that you          22         A     No, it was -- wasn't really a obligation. I
23   had to start paying back these loans?                            23   would help out, but it wasn't obligatory, so -- with
24         A     I can't remember -- I can't give you a               24   me being away, it wouldn't be something that like --
25   specific date on that, but it was upon my release from           25   and I'm very young at this time, so anything like 20

                                                                 22                                                                    24
1    incarceration when I went to try to get into -- access           1    bucks, it just wasn't really like obligatory though.
2    to my credit report and --                                       2          Q     So then when you were incarcerated from
3          Q     Do you -- did they have -- had they sent you         3    2016 -- or in 2016, did you have any obligations at
4    any correspondence, any letters, indicating that you             4    that point with regard to paying rent or utilities,
5    needed to make payments for the loan?                            5    car payments, anything like that?
6          A     If they did, they never made their way to me,        6          A     No, not that I can remember.
7    so I can't -- I can't really answer that.                        7          Q     Are you currently employed?
8          Q     Did your mother continue to live at the              8          A     I am.
9    property where you lived at the time of this incident            9          Q     Where?
10   while you were incarcerated?                                     10         A     Company called Parratt-Wolff, Incorporated.
11         A     She did.                                             11   P-A-R-R-A-T-T. Wolff with two F's.
12         Q     And would you typically get your mail at that        12         Q     And where are they located?
13   property?                                                        13         A     They were initially located in Lewisburg,
14         A     Yes.                                                 14   Pennsylvania, but we recently are transitioning into
15         Q     And was your mother getting your mail at that        15   Watsontown, Pennsylvania. So that is kind of where
16   time?                                                            16   the location is now.
17         A     Yes.                                                 17         Q     And how long have you been employed there?
18         Q     And would she forward you mail to where you          18         A     Approximately a year. Could be a little over
19   were incarcerated?                                               19   a year, but definitely at least a year.
20         A     No.                                                  20         Q     And what do you do there?
21         Q     Do you know why?                                     21         A     I'm -- it's a variety of things, but
22         A     I didn't really communicate with my mother           22   basically environmental work. Drilling.
23   much while I was incarcerated. I mean, I did, but I              23         Q     Drilling?
24   can't remember our conversation where -- like that was           24         A     Yes.
25   one of the topics. So that would maybe be a reason               25         Q     Do you have a title?


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1          A     Assistant driller.                                 1    help provide those answers?
2          Q     Have you held any other positions at               2          A     Just checking out my resume and trying to
3    Parratt-Wolff in that year you've been employed?               3    reach out to different past employers to try to kind
4          A     I think -- my job description encompasses a        4    of get the information.
5    lot. Like right now I'm currently -- there's just              5          Q     Was there a gap between your employment from
6    different softwares and it -- it's extensive as far as         6    Road Safe to Parratt-Wolff?
7    we do many things. I could be installing a monitoring          7          A     Yes.
8    well. I could be redeveloping a lot. I could be                8          Q     Do you know how long?
9    drilling a well and installing it. I could be doing            9          A     I can't give you an exact period off the top
10   contamination remediation as far as -- which is a              10   of my head.
11   whole another software.                                        11         Q     Now, it says at Road Safe, you left there for
12               I could be driving. I can deliver -- it's          12   a better opportunity.
13   just a variety. I don't really have like -- like we            13         A     Yes.
14   all don't have really like a set job title. Even like          14         Q     And what would that better opportunity have
15   per se if you would look up in the company, like it            15   been?
16   would say assistant driller, but it's just more so             16         A     Better pay.
17   because it hasn't been updated. Like it's not                  17         Q     I'm sorry?
18   really -- it's kind of like a software update on your          18         A     Like better pay. More money.
19   phone or something. As of right now, I'm fulfilling a          19         Q     And there was an amount of time between Road
20   position of many different things.                             20   Safe and Parratt-Wolff where you weren't employed.
21         Q     Okay. But your title is still assistant            21         A     Correct.
22   driller?                                                       22         Q     And so what was that better opportunity in
23         A     My title would be assistant driller.               23   between there?
24         Q     And that's what it's been since you were           24         A     I wasn't. I was on unemployment.
25   hired?                                                         25         Q     You were collecting unemployment?

                                                               26                                                                    28
1          A     Yes.                                               1          A     Yes.
2          Q     Where did you work prior to Parratt-Wolff?         2          Q     Were you laid off? Did you quit? Were you
3          A     I worked at Road Safe Traffic.                     3    fired from Road Safe?
4          Q     And what years did you work there?                 4          A     I wouldn't really call it a layoff. It's
5          A     It was a short period. My memory's kind of         5    seasonal, subcontracted. It's traffic control, so
6    hazy on the time. I would have to --                           6    basically we worked based off of the construction work
7          Q     Okay.                                              7    or highway work through a subcontractor. So it was
8          A     -- maybe look at my resume. It's kind of           8    like, when we have inclement weather during the
9    hard me to keep track of those.                                9    wintertimes and stuff.
10         Q     Your discovery answers indicate you worked         10         Q     And you said you did traffic control?
11   there from March, 2022 to early 2023. Does that sound          11         A     Yes.
12   right?                                                         12         Q     So is that like in construction sites when
13         A     March, '22 to --                                   13   you see people like holding the sign for you to go or
14         Q     Early 2023.                                        14   slow down or stop?
15         A     That's a possibility. It sounds like it            15         A     Yes. It was a different variety of -- could
16   could be right.                                                16   have been flagging or it could have been actually
17         Q     Do you recall working with your attorney to        17   setting that pattern, those signs that -- those temp
18   answer discovery requests which were called                    18   signs that you see. Or like the light-up boards, and
19   interrogatories to a list of questions?                        19   just controlling that traffic in general.
20         A     Yes.                                               20         Q     And prior to Road Safe you worked at West
21         Q     Okay. And do you recall there being a              21   Pharmaceutical Services?
22   question about your employment history where you've            22         A     I did.
23   worked over the past so many years?                            23         Q     And what did you do there?
24         A     Yes.                                               24         A     I initially got hired on as a production
25         Q     And where did you get that information to          25   operator, and then I moved into quality assurance as


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1    an inspector.                                                   1    talking months or a year?
2         Q     And how long did you work there?                     2            A   Less than a year.
3         A     Again, I can't really provide an answer off          3            Q   Did you leave Paris Healthcare to go to Shop
4    the top of my head in order to give you the accurate            4    Vac or was there a gap in between the employment
5    dates.                                                          5    there?
6         Q     Did you leave West Pharmaceutical to go to           6            A   Can't remember specifically that period of
7    Road Safe Traffic?                                              7    time.
8         A     Yes.                                                 8            Q   Do you recall how long you were at Shop Vac
9         Q     And if your discovery answers indicate that          9    before you were laid off?
10   you worked at West Pharmaceutical from September of             10           A   It was another short -- short period.
11   2021 to March of 2022, does that sound right?                   11           Q   I want to turn your attention to the date of
12        A     It sounds like it could be correct.                  12   your arrest, so October of 2020.
13        Q     And prior to West Pharmaceutical Services,           13           A   Okay.
14   what were you doing?                                            14           Q   Do you recall? Tell me what happened that
15        A     I had a job at Shop Vac.                             15   day.
16        Q     And what did you do at Shop Vac?                     16               MR. GRYSKEWICZ: So he's going to exercise
17        A     It was production and forklift operation.            17   his right under the Fifth Amendment to not answer that
18        Q     And how long did you work there?                     18   question. If you want to ask specific questions, I'm
19        A     It wasn't very -- it was a brief period. It          19   sure he would talk about, you know, certain things
20   wasn't long.                                                    20   that that wouldn't cover, but a broad question like
21        Q     Okay. And you were working there at the time         21   that, he'd assert the Fifth Amendment privilege.
22   of this incident in 2020?                                       22               MS. LAUGHLIN: So you're asserting the Fifth
23        A     It's hard to remember the dates, to be clear         23   Amendment based on my question of what happened that
24   and accurate.                                                   24   day?
25        Q     It looks like at some point you were laid off        25               MR. GRYSKEWICZ: Yes. I think a broad

                                                                30                                                                    32
1    from Shop Vac?                                                  1    question like that, that would cover.
2         A     Yes.                                                 2                MS. LAUGHLIN: Okay. Can you mark that in
3         Q     And collecting unemployment?                         3    the transcript, that there was the instruction not to
4         A     Yes.                                                 4    answer? Thank you.
5         Q     So would that have been at the time that this        5    BY MS. LAUGHLIN:
6    incident occurred?                                              6            Q   Where were you at the time you were arrested?
7         A     That's a possibility.                                7                MR. GRYSKEWICZ: You can answer that
8         Q     Do you know the reason for the layoff?               8    question.
9         A     From my understanding, kind of like shop             9                THE WITNESS: I can't tell you the name of
10   talk, they were getting acquired by a bigger company.           10   the road, but I was on a road off of -- in the
11   So it was one of those things where I couldn't tell             11   Lycoming Creek area. Not familiar with the townships
12   you if they were like revamping the company or                  12   out that way.
13   whatever, but it caused for a massive layoff.                   13   BY MS. LAUGHLIN:
14        Q     Prior to Shop Vac, you worked at Paris               14           Q   And where were you coming from and where were
15   Healthcare Linen?                                               15   you going?
16        A     Yes.                                                 16               MR. GRYSKEWICZ: He would assert his Fifth
17        Q     What did you do there?                               17   Amendment privilege, and I would direct you not to
18        A     How can I explain? Like a sorter. Basically          18   answer that question.
19   taking the dirty clothes and sorting them for -- to be          19               MR. WHITE: Just have a question. I think
20   washed.                                                         20   it's -- I think he has to assert his Fifth Amendment
21        Q     And how long did you work at Paris Healthcare        21   privilege and not -- and it's just my understanding,
22   Linen?                                                          22   because I've been in this situation --
23        A     I can't remember the specific amount of time,        23               MR. GRYSKEWICZ: No, I understand. I think
24   but it was another short period.                                24   you're correct.
25        Q     And when you say short period, are you               25               MR. WHITE: I think he's the one who has to


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1    say it rather than it being an objection. But, look,              1         A      Yeah. Not like on the top of the car. It
2    I'm not --                                                        2    was an unmarked vehicle, but they being like the grill
3                 MR. GRYSKEWICZ: No, I think you're right,            3    of the car, per se.
4    Attorney White. Yeah, so --                                       4         Q      And you said there was one behind you?
5                 MR. WHITE: I think that that's the way it's          5         A      Yes.
6    supposed to --                                                    6         Q      And then you said you observed officers
7                 MR. GRYSKEWICZ: Yeah, I agree with you. I            7    cutting off the road in front of you. How many
8    would direct you to assert your Fifth Amendment                   8    officers?
9    privilege and not answer that question.                           9         A      I can't remember, but it was a few.
10                THE WITNESS: On the advice of my counsel,            10        Q      Do you know --
11   I'm asserting my Fifth Amendment right.                           11        A      More than one.
12   BY MS. LAUGHLIN:                                                  12        Q      And were they physically out of vehicles or
13         Q      What kind of vehicle were you driving on the         13   were they blocking -- how were they blocking the road?
14   date that you were arrested?                                      14        A      It was a mixture of both of them. It was
15         A      I can't remember, honestly, the make and             15   both vehicles and actual police officers on the road.
16   model. It was a rental.                                           16        Q      And you had said you had -- it was in the
17         Q      And how long had you had the rental for, as          17   area of Lycoming Creek Road you had turned off. You
18   of that date when you were arrested?                              18   don't know what road you were on, correct?
19         A      I can't remember.                                    19        A      Correct.
20         Q      Where did you rent it from?                          20        Q      And did you make any other turns after making
21         A      Avis.                                                21   your turn off of Lycoming Creek Road prior to being
22         Q      Which Avis?                                          22   stopped?
23         A      From the Philadelphia Airport --                     23        A      I can't remember. I don't want to --
24   International Airport.                                            24        Q      And when you said officers were cutting off
25         Q      And did you have your own vehicle at the time        25   the road in front of you, how were they doing that?

                                                                  34                                                                    36
1    of this incident?                                                 1         A      In the form of vehicles and actual police
2                 MR. GRYSKEWICZ: I would direct you not to            2    officers outside of their vehicles.
3    answer that question and assert your Fifth Amendment              3         Q      And was the roadway blocked where you could
4    privilege.                                                        4    not go around them at all?
5                 THE WITNESS: On the advice of counsel, I             5         A      Correct.
6    wish to invoke my Fifth Amendment.                                6         Q      And so when you see that and you see the
7    BY MS. LAUGHLIN:                                                  7    lights behind you in the unmarked car, what do you do?
8          Q      Are you -- do you know what area you were in         8         A      I become compliant with the directives from
9    when you were pulled over? If you were near any                   9    the officers.
10   streets or roads, do you know the names?                          10        Q      You stopped?
11         A      I can't remember. I couldn't tell you.               11        A      Absolutely.
12         Q      It's my understanding from the police reports        12        Q      And after you stopped your vehicle, what
13   that you were heading from Lycoming Creek Road onto               13   happened?
14   Eckard Road at or near its intersection with Miller               14        A      I began receiving orders to show my hands.
15   Road. Are you familiar with any of those roads?                   15   Like there was a lot of screaming. It was kind of
16         A      I am not.                                            16   chaotic, a bit overwhelming, so it was kind of hard
17         Q      And at what point did you know you were being        17   for me to keep track of everybody talking and
18   pulled over?                                                      18   screaming.
19         A      It was kind of simultaneous. I observed a            19        Q      How many officers were there?
20   bunch of officers kind of like cutting off the road in            20        A      I can't remember, but it was quite a few.
21   front of me, and there was also what I -- what                    21        Q      Did you have personal knowledge of any of the
22   appeared to be an unmarked police vehicle behind me               22   officers that were there at the time of your arrest?
23   with its strobe lights activated.                                 23        A      Meaning?
24         Q      When you say strobe lights, are they like the        24        Q      Did you know them?
25   blue and red lights?                                              25        A      I did.


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1          Q     Which ones did you know?                             1             Q   Did any of the officers have their handguns
2          A     I knew Tyson Havens, Joshua Bell, Clinton            2    drawn?
3    Gardner. And I don't know his first name, but                    3             A   They did.
4    Caschera.                                                        4             Q   Who had their guns drawn?
5          Q     And Caschera was there at the time of your           5             A   Old Lycoming Township police officers.
6    arrest?                                                          6    Clinton Gardner.
7          A     He was.                                              7             Q   Anyone else?
8          Q     And you said that there was screaming. Who           8             A   I can't remember. I don't want to --
9    was screaming?                                                   9             Q   That's fine.
10         A     It was kind of hard to tell specifically who         10            A   -- say it without the absolute recollection
11   was screaming, but there was a lot from multiple                 11   of it.
12   people. And I can't -- I can't believe like all --               12            Q   And when they said show your hands, did you
13   they were surrounding the car and in front of the car,           13   comply?
14   were all around the car.                                         14            A   I did.
15         Q     Who was in the front of the car?                     15            Q   And then what happened after you showed your
16         A     In the front of the car was the Old                  16   hands?
17   Lycoming -- what I perceived to be Old Lycoming                  17            A   They told me to open the vehicle.
18   Township police officers.                                        18            Q   Did you do that?
19         Q     And did you personally know any of the Old           19            A   I did.
20   Lycoming Township police officers?                               20            Q   And how did you do that?
21         A     I didn't.                                            21            A   I reached over and unlocked it with my hand.
22         Q     Were there also officers on the -- your side,        22            Q   And did you open the door?
23   on the driver's side of the vehicle?                             23            A   I didn't.
24         A     There was.                                           24            Q   Did the door open?
25         Q     And who was on that side?                            25            A   It did.

                                                                 38                                                                    40
1          A     Tyson Havens, Joshua Bell. And not sure of           1             Q   How did the door open?
2    his title or position, but Dammer.                               2             A   Tyson Havens opened it.
3          Q     Dammer?                                              3             Q   And once he opened the door, were there any
4          A     Yes.                                                 4    more instructions?
5          Q     And were there any officers on the passenger         5             A   I can't remember any instructions. I just
6    side of the vehicle?                                             6    was yanked out of the vehicle.
7          A     Yes.                                                 7             Q   Who yanked you out?
8          Q     Who was there?                                       8             A   Tyson Havens.
9          A     Clinton Gardner.                                     9             Q   And how did he yank you out?
10         Q     Just Gardner?                                        10            A   Pulled me by my arm.
11         A     Correct.                                             11            Q   Which arm?
12         Q     And were there any officers behind your car?         12            A   I can't remember which arm specifically.
13         A     I can't remember at that time.                       13            Q   Were you injured in any way when he pulled
14         Q     Another officer that you said that was there         14   you out?
15   that you knew was Caschera. Where was he located                 15            A   Not that I can remember. I did not receive
16   while you were still in the vehicle?                             16   like medical attention for it or anything.
17         A     I can't remember his position. I just                17            Q   Were you resisting at all?
18   remember seeing him.                                             18            A   I wasn't.
19         Q     And at what point did you see Caschera?              19            Q   And when he pulled you by the arm, was it
20         A     I can't remember.                                    20   just helping you out of the vehicle or more?
21         Q     So there was screaming going on, there were          21            A   I wouldn't consider it helping me.
22   orders to show your hands. What was the screaming?               22            Q   Okay. How would you --
23   What were they saying?                                           23            A   It was like yank. Like yanked out, slammed
24         A     Show your hands. Keep them where I can see           24   to the ground.
25   them.                                                            25            Q   Okay. So you're yanked out of the car and


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1    then you said you're slammed to the ground?                      1    of the vehicle, and then you're slammed to the ground,
2           A    Yes.                                                 2    at which time Bell and Dammer helped put you on the
3           Q    And when you're on the ground, what's beneath        3    ground?
4    you?                                                             4          A      Havens more so got me out, extracted me from
5           A    Like the road.                                       5    the vehicle. During the extraction and transit from
6           Q    So you're on the road?                               6    the vehicle to the ground was where Joshua Bell kind
7           A    Yes.                                                 7    of assisted in that.
8           Q    Were you injured when you were slammed to the        8          Q      And how did he assist?
9    ground?                                                          9          A      By grabbing me.
10          A    I can't remember.                                    10         Q      And how did he grab you?
11          Q    Did you have any bruising or abrasions, cuts         11         A      It's hard for me to remember like who did
12   from being slammed to the ground?                                12   what, where. Specifically their hands, I just
13          A    I can't remember. It was kind of a lot going         13   remember them being there, being grabbed by them. I
14   on, adrenalin rushing so --                                      14   can't really -- I didn't really take it -- it all
15          Q    Did you receive any medical attention that           15   happened in a fluid motion. It wasn't like a grab,
16   same day?                                                        16   pause for a period of time. It was just one fluid
17          A    I didn't.                                            17   motion where -- out the vehicle onto the ground.
18          Q    So who slammed you to the ground?                    18                (Whereupon, a recess was taken from 1:57 p.m.
19          A    It was a mixture of Joshua Bell, Tyson Havens        19   until 2:02 p.m.)
20   and Officer Dammer.                                              20                                      AFTER RECESS
21          Q    And who?                                             21   BY MS. LAUGHLIN:
22          A    Officer Dammer.                                      22         Q      So when we left off, we were talking about
23          Q    Dammar. And --                                       23   you being pulled out of the vehicle and slammed to the
24          A    But it was more so Joshua Bell, Tyson Havens.        24   ground, kind of all in one kind of movement. And you
25          Q    And how did they slam you on the ground?             25   don't recall how Bell assisted in that, taking you to

                                                                 42                                                                     44
1           A    It was rather quick. It was a pull, one              1    the ground?
2    motion, fall out the car onto the ground.                        2          A      I just remember him being there and assisting
3           Q    Was your door -- was the driver's side door          3    in it as far as physically -- I just can't really
4    fully open at the time you were yanked out of the car?           4    specify and -- where he was physically. I just
5           A    I can't remember.                                    5    remember him being involved physically as far as that
6           Q    So you're yanked out and then slammed on the         6    aspect goes.
7    ground. Kind of all happens quickly?                             7          Q      And then how about Dammer, do you know how he
8           A    Yes.                                                 8    assisted in taking you to the ground?
9           Q    So where is -- you already said it's Havens          9          A      I don't recall him participating in the
10   is the one who's pulling your arm. Which arm is he               10   physicality aspect of it, just more so just being
11   pulling?                                                         11   there and kind of hovering. But again, like it's hard
12          A    I can't remember.                                    12   to really remember. He could've grabbed me back or he
13          Q    Okay. Is it the one that's closest to the            13   could have -- it's kind of hard to like -- I'm not
14   door or is it the one in towards the passenger?                  14   really in position where I can like actually see
15          A    It wasn't -- like I can't remember them              15   what's going on.
16   having to come into the car, so it was more so focused           16         Q      While this is taking place, the officers are
17   on the left side of my body.                                     17   approaching the vehicle, they're shouting orders,
18          Q    And what part of the arm did he grab?                18   they're pulling you out of the vehicle, slamming you
19          A    It was kind of like this area, the left-sided        19   to the ground, are you saying anything to the
20   area towards --                                                  20   officers?
21          Q    And you're pointing towards more the -- your         21         A      I can't remember.
22   upper body, your upper arm?                                      22         Q      Did you recall ever saying -- telling them
23          A    Yeah. It was kind of like -- it was                  23   that you wanted to put your car in park and asking
24   two-handed so it was --                                          24   them not to shoot you?
25          Q    So he, Havens, uses two hands to pull you out        25         A      Yes.


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1            Q   Do you recall saying something to the effect         1    sense of factual this is for sure. In my brain right
2    of everyone relax and you're messing up my clothes?              2    now, I can tell you with certainty this is -- as of
3            A   I can't remember, but that would probably --         3    right now me thinking about it, trying to recollect,
4    may be something I would say.                                    4    having a hard time remembering exactly what happened,
5            Q   Okay.                                                5    how it happened and verbatim. So my answer being to a
6            A   As far as like trying to cool out, cool off          6    degree I can --
7    everybody, so I --                                               7          Q     What happens --
8            Q   So at the point where you're being arrested,         8          A     -- say that I did take part in providing
9    you're being pulled out of the vehicle, slammed to the           9    these answers.
10   ground, your concern was with your clothes?                      10         Q     Okay.
11           A   They were pulling me with the force of               11         A     But my memory at the time of providing these
12   tearing them.                                                    12   answers and my memory now could be in two totally
13           Q   So your concern was on your clothes?                 13   different places.
14           A   I can't remember me specifically saying that         14         Q     And that's what saying it is?
15   at that moment, but I was being pulled in a way where            15         A     To answer that. I'm not saying. I'm just
16   it was kind of cutting off the air for me to breathe             16   saying it's a possibility that -- I just don't want to
17   as far as around my neck wise.                                   17   answer in my mind without absolute certainty saying
18           Q   So the question about you're messing up my           18   verbatim or -- so I can say to that effect or to a
19   clothes was because you couldn't breathe?                        19   degree. I don't want to say with absolutely if I'm
20           A   I can't remember the incident, like as far as        20   not -- in my mind I'm not absolutely certain.
21   me making a statement, so I -- it would kind of be               21         Q     Okay.
22   me --                                                            22         A     I just can't -- I mean, that's hard for me to
23           Q   If you couldn't breathe, wouldn't it be more         23   remember.
24   likely that you're saying -- for you to say something            24         Q     So sitting here today, you don't have an
25   like I, hey, I can't breath or your hurting me, as               25   independent recollection of saying, everyone relax,

                                                                 46                                                                    48
1    opposed to you're messing up my clothes?                         1    and you're messing up my clothes?
2            A   Me offering that answer was trying to give           2          A     I can't remember.
3    you just the why, if I did say it, which I can't                 3          Q     Now, while you are on the ground after being
4    remember saying it. I'm just trying to come to grips             4    removed from the vehicle, what happens after that?
5    with why I would have said it and what was going on at           5          A     I was then placed in handcuffs.
6    the time.                                                        6          Q     And where were you at the time you were
7            Q   So we are going to be looking at 9-A. Did            7    placed in handcuffs?
8    you read that?                                                   8          A     I was on the ground.
9            A   I did.                                               9          Q     And who placed those handcuffs?
10           Q   Okay. So these are your answers to the               10         A     I can't remember specifically who placed them
11   interrogatories that were posed by Old Lycoming                  11   on me.
12   Township to you. And in the answer to 9-A you say, I             12         Q     And --
13   said something to the effect of everyone relax and               13         A     I just remember them being placed on me.
14   you're messing up -- it says my close. Did you help              14         Q     And were your hands behind your back when the
15   put these answers together with your attorney?                   15   handcuffs were placed?
16           A   I did.                                               16         A     They were.
17           Q   Does that refresh your memory that that's            17         Q     And what happens after the handcuffs are
18   something that you said at the time?                             18   placed?
19           A   To a degree.                                         19         A     I was then placed in a vehicle. Police
20           Q   Why to a degree? What do you mean?                   20   vehicle.
21           A   Because from the time that these answers were        21         Q     How did you get up off the road?
22   put together to now, is a period of time in general.             22         A     I was helped up.
23   And as of right now, my recollection is -- it's a                23         Q     Who helped you up?
24   possibility it's not what it was when we put the                 24         A     I remember Tyson Havens was one. I can't
25   answer together. So I don't want to answer in the                25   remember who else.


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1            Q     And how did they help you up?                        1            A   Yes.
2            A     Kind of like looped under my arms and helped         2            Q   Where was it located at at that time?
3    me up that way.                                                    3            A   On West Fourth Street, the City Hall. The
4            Q     Whose vehicle were you placed in?                    4    old City Hall.
5            A     I can't remember the specific vehicle. I             5            Q   And what happened after you got to City Hall?
6    just remember being -- it wasn't a car. It was like a              6            A   I was placed in a back room.
7    SUV.                                                               7            Q   And then what did they do?
8            Q     Where were you taken after you were placed in        8            A   Processed me.
9    the vehicle?                                                       9            Q   Then were you taken over to the Lycoming
10           A     I was taken to the Old Lycoming Township             10   County Prison?
11   station.                                                           11           A   I was.
12           Q     And who transported you there?                       12           Q   Anything different happen there?
13           A     I can't remember.                                    13           A   Meaning?
14           Q     What happens once you get to the Old Lycoming        14           Q   Was there anything -- you've been
15   Township Police Department?                                        15   incarcerated before at Lycoming County Prison,
16           A     I was taken into a back room, strip searched.        16   correct?
17           Q     Who did the strip search?                            17           A   Yes.
18           A     Clinton Gardner, in the presence of Joshua           18           Q   Was there anything different once you were
19   Bell.                                                              19   taken to the Lycoming County Prison that day after the
20           Q     Had you been strip searched before that date?        20   arrest we're here about?
21           A     Like ever in life?                                   21           A   Yes.
22           Q     Correct.                                             22           Q   What was that?
23           A     I have.                                              23           A   I was placed in a -- like a segregated unit.
24           Q     How many times?                                      24   It's typically for like suicide watch and -- it's like
25           A     A lot.                                               25   control -- it was like cameras and lights, and that's

                                                                   50                                                                    52
1            Q     Okay. And were you patted down at all before         1    the best answer I can give you as far as like -- it's
2    you were put in the police vehicle?                                2    for people typically like who receive special meds or
3            A     I was.                                               3    are on suicide watch, and -- but it's segregated from
4            Q     Do you know who patted you down?                     4    the prison. It's like a -- I don't want to really
5            A     Tyson Havens.                                        5    call it solitary confinement but it is solitary
6            Q     And was anything found on you when they did          6    confinement.
7    the pat down?                                                      7            Q   So are you a cell by yourself?
8            A     I can't remember.                                    8            A   Yes.
9            Q     Was anything found on you when the strip             9            Q   And do you know why you were put there in
10   search was conducted?                                              10   that special cell?
11           A     I don't understand the question.                     11           A   I found out later on.
12           Q     Sure. You were strip searched. They were             12           Q   What did you find out?
13   looking to see if there was -- you had anything on you             13           A   That it was at the request of Joshua Bell.
14   that could be either a danger or contraband. Was                   14           Q   Did you find out why he requested you to be
15   anything found when you were strip searched?                       15   put in a special cell?
16           A     No.                                                  16           A   I can't remember.
17           Q     Once you're strip searched, what happens             17           Q   In the complaint, or the second amended
18   after that?                                                        18   complaint that controls in this action, indicates that
19           A     I put my clothes back on and -- my                   19   you were placed in a dry cell. Do you know what a dry
20   recollection is a little hazy at that point, but it                20   cell is?
21   ended up ultimately with me being transported to the               21           A   I think that's the first time I heard that
22   Williamsport police station.                                       22   term.
23           Q     Do you know who did that transport?                  23           Q   Okay. In the cell that you were in, you said
24           A     I can't remember.                                    24   there were cameras?
25           Q     And you said the Williamsport police station?        25           A   Correct.


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1          Q      Was there bathroom facilities?                       1    Prison?
2          A      There was a sink and a toilet, like kind of          2            A    I was.
3    attached to the wall, and a small platform bed on --              3            Q    Do you know what time it was that you were
4    it's like super small. It's like maybe -- I can't                 4    pulled over?
5    even -- it is very, very small.                                   5            A    I don't.
6          Q      So --                                                6            Q    Do you know if it was the morning or the
7          A      So all these things are kind of congested            7    afternoon?
8    into this very tight area.                                        8            A    It wasn't the early morning, but it wasn't
9          Q      The difference between that cell and a               9    late in the evening. Kind of mid day.
10   regular cell in the Lycoming County Prison is the size            10           Q    Was it daylight?
11   and that there is -- there are lights and cameras.                11           A    Absolutely.
12   Any other differences?                                            12           Q    And prior to the arrest, had you been at your
13         A      It's segregated. Like there's no interaction         13   home?
14   with -- you can't -- it's like a -- it's a very small             14           A    I wasn't.
15   place. It's a side entrance to it with a few of those             15           Q    Where were you just immediately prior to the
16   same -- but the difference being it's smaller. It's a             16   arrest?
17   solid door with like a little square window. It's not             17                MR. GRYSKEWICZ: I would direct you to assert
18   like -- the Lycoming County population cells are open             18   your Fifth Amendment privilege.
19   with bars.                                                        19                THE WITNESS: On the advice of counsel, I
20         Q      Were you --                                          20   wish to assert my Fifth Amendment.
21         A      It kind of reminds me of like -- the best            21   BY MS. LAUGHLIN:
22   description I could give you is like on a movie, like             22           Q    And you said that you were on Old Lycoming
23   a padded room without the pads. Like a bed and like               23   Road -- Old Lycoming Creek, I think Road. Is that
24   how maybe -- maybe even smaller than that, but like               24   what it's called?
25   just to kind of paint the portrait for you. It's kind             25           A    I don't know if it's called Lycoming Creek

                                                                  54                                                                     56
1    of like that.                                                     1    area.
2          Q      And were you taken to be arraigned that same         2            Q    Or Lycoming Creek Road? That's where you had
3    day in front of a magistrate?                                     3    been?
4          A      I can't remember, honestly.                          4            A    That's the best description I can give you.
5          Q      At some point you were arraigned?                    5    I can't really remember the specifics of it.
6          A      I was arraigned, yes.                                6            Q    And had you stopped anywhere on Lycoming
7          Q      Do you know who took -- who was there from --        7    Creek Road prior to being pulled over?
8    as a police officer at the arraignment?                           8                 MR. GRYSKEWICZ: I direct you not to answer
9          A      I believe Tyson and Havens and Joshua Bell           9    that question and assert your Fifth Amendment
10   were there.                                                       10   privilege.
11         Q      And when you were arraigned, were your               11                THE WITNESS: On the advice of counsel, I'd
12   charges held over for court?                                      12   like to invoke by Fifth Amendment.
13         A      Meaning?                                             13   BY MS. LAUGHLIN:
14         Q      That you weren't released, they were going to        14           Q    Had you talked to Matthew Sumpter that day?
15   let them go, let them proceed?                                    15                MR. GRYSKEWICZ: I would direct you not to
16         A      Correct.                                             16   answer that question and assert your Fifth Amendment
17         Q      And was bail set at that point?                      17   privilege.
18         A      It was.                                              18                THE WITNESS: On the advice of counsel, I
19         Q      What was your bail?                                  19   wish to invoke my Fifth Amendment.
20         A      85,000.                                              20   BY MS. LAUGHLIN:
21         Q      Do you know if it was secured or unsecured?          21           Q    On that day had you had any texts with
22         A      I can't remember.                                    22   Matthew Sumpter?
23         Q      And were you able to post that?                      23                MR. GRYSKEWICZ: I would direct you not to
24         A      I wasn't.                                            24   answer that question and assert your Fifth Amendment
25         Q      So you were taken back to the Lycoming County        25   privilege.


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1                 THE WITNESS: On the advice of counsel, I            1    privilege.
2    wish to invoke my Fifth Amendment.                               2                 THE WITNESS: On the advice of counsel, I
3    BY MS. LAUGHLIN:                                                 3    wish to invoke my Fifth Amendment.
4          Q      And did you know Matthew Sumpter?                   4    BY MR. GRYSKEWICZ:
5                 MR. GRYSKEWICZ: I direct you not to answer          5         Q       And do you know that that is the neighborhood
6    that question and assert your Fifth Amendment                    6    where Matthew Sumpter lives?
7    privilege.                                                       7                 MR. GRYSKEWICZ: I direct you not to answer
8                 THE WITNESS: On the advice of counsel, I            8    that question and assert your Fifth Amendment
9    wish to invoke my Fifth Amendment.                               9    privilege.
10                MS. LAUGHLIN: I'm going to mark this map as         10                THE WITNESS: On the advice of counsel, I
11   Barasky 1.                                                       11   wish to invoke my Fifth Amendment.
12                (Whereupon, a document was produced and             12   BY MS. LAUGHLIN:
13   marked as Deposition Exhibit No. 1 for                           13        Q       On the day that you were pulled over, were
14   identification.)                                                 14   you going to meet with Matthew Sumpter?
15   BY MS. LAUGHLIN:                                                 15                MR. GRYSKEWICZ: I would instruct you not to
16         Q      This is the one that you had provided to us.        16   answer that question and assert your Fifth Amendment
17   Now, I'm going to direct your attention down here on             17   privilege.
18   the left side. The left corner diagonally it shows               18                THE WITNESS: On the advice counsel, I wish
19   Lycoming Creek Road. Do you see that?                            19   to invoke my Fifth Amendment.
20         A      I do.                                               20   BY MS. LAUGHLIN:
21         Q      And then this road coming up kind of the            21        Q       Did you have drugs with you on the date of
22   middle where there's a one -- I think it says 128 is             22   October 2nd of 2020 when you got arrested?
23   Eckard Road. Do you see that?                                    23                MR. GRYSKEWICZ: I direct you not to answer
24         A      I don't see the name Eckard.                        24   that question and assert your Fifth Amendment
25         Q      No. Do you see this road, though --                 25   privilege.

                                                                 58                                                                     60
1          A      Oh, the 128.                                        1                 THE WITNESS: On the advice of counsel, I
2          Q      -- that is marked by 128 at the top and the         2    wish to invoke my FIfth Amendment.
3    bottom?                                                          3    BY MS. LAUGHLIN:
4          A      I can see the route.                                4         Q       Just prior to your arrest did you have drugs
5          Q      And I'm going to relate to you that that is         5    in the vehicle or on you on October 2nd of 2020?
6    Eckard Road. Does that appear to be the road that you            6                 MR. GRYSKEWICZ: I direct you not to answer
7    were on at the time that you got pulled over?                    7    that question and assert your Fifth Amendment
8          A      I couldn't -- I couldn't tell you. The only         8    privilege.
9    thing I recognize is Lycoming Creek Road.                        9                 THE WITNESS: On the advice of counsel, I
10         Q      Okay. Over on the right-hand side of this           10   wish to invoke my Fifth Amendment.
11   map there is a housing development that is Brentwood             11   BY MS. LAUGHLIN:
12   Drive, Hillcrest, Florence, Rick Lane and Clearview              12        Q       When -- did you have any drugs hidden within
13   Lane. Do you see that?                                           13   the vehicle at the time of your arrest on October 2nd,
14         A      I do.                                               14   2020?
15         Q      Do you know that housing development?               15                MR. GRYSKEWICZ: I direct you not to answer
16                MR. GRYSKEWICZ: I would direct you not to           16   that question and assert your Fifth Amendment
17   answer that question and assert your Fifth Amendment             17   privilege.
18   privilege.                                                       18                THE WITNESS: On the advice of counsel, I
19                THE WITNESS: On the advice of counsel, I            19   wish to invoke my Fifth Amendment.
20   wish to invoke my Fifth Amendment.                               20   BY MS. LAUGHLIN:
21   BY MS. LAUGHLIN:                                                 21        Q       Just prior to your arrest, when you noticed
22         Q      Had you been to that housing development,           22   that there was an unmarked vehicle -- unmarked police
23   that residential area, prior to October 2nd of 2020?             23   vehicle behind you, did you dispose of any drugs out
24                MR. GRYSKEWICZ: I direct you not to answer          24   the window?
25   that question and assert your Fifth Amendment                    25                MR. GRYSKEWICZ: I would instruct you not to


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1    answer that question and assert your Fifth Amendment              1           Q   Were you staying other places than Louisa
2    privilege.                                                        2    Street around the time that you had this rental
3                 THE WITNESS: On the advice of counsel, I             3    vehicle?
4    wish to invoke my Fifth Amendment.                                4           A   That's a possibility.
5    BY MS. LAUGHLIN:                                                  5           Q   Okay. Where else would you have been staying
6          Q      At the point when you realized that you were         6    at that time?
7    going to be pulled over, did you in any way hide or               7           A   Too many places to remember, honestly.
8    ingest -- hide within your body or ingest any drugs?              8           Q   Are there any that you remember?
9                 MR. GRYSKEWICZ: I direct you not to answer           9           A   Not specifically. I'm not good with -- as
10   that question and assert your Fifth Amendment                     10   you can see, I'm not good with --
11   privilege.                                                        11          Q   Okay. Would they have been at places of
12                THE WITNESS: On the advice of counsel, I             12   friends or acquaintances that you know?
13   wish to invoke my Fifth Amendment.                                13          A   Yes.
14   BY MS. LAUGHLIN:                                                  14          Q   And what were their names?
15         Q      The rental car that you were driving at the          15          A   I would have to give you like 50 names.
16   time of the arrest, was that a vehicle that you                   16          Q   That's okay.
17   typically kept at your home where you lived on Louisa             17          A   Half the college or -- be -- we'd be here all
18   Street?                                                           18   day.
19         A      Explain -- can you reiterate on the question?        19          Q   So over the time span that you had this
20         Q      Sure. You had a rental car on the date of            20   rental car, it's a possibility that you had stayed
21   your arrest, correct?                                             21   other places than your home, and it could have been a
22         A      Correct.                                             22   possibility of 50 different places or 50 different
23         Q      And had you picked that rental car up that           23   people that you stayed with?
24   day from the Philadelphia Airport?                                24          A   That's just kind of -- I wouldn't really say
25         A      I can't remember. I don't think so.                  25   50, per se, but just trying to give you the magnitude

                                                                  62                                                                   64
1          Q      Okay. So from the time you picked up the             1    at that period of time from what I can remember.
2    rental vehicle until the date of your arrest, where               2           Q   So how long had you had the rental car?
3    were you keeping the vehicle?                                     3           A   I can't remember.
4          A      The vehicle pretty much stayed with me.              4           Q   Why did you have the rental car?
5          Q      Okay. And so is it fair to say that when you         5           A   Because I didn't have any car.
6    weren't using it, it was parked at your house on                  6           Q   Where -- what happened to your car?
7    Louisa Street?                                                    7           A   I didn't have a car.
8          A      There was never a time where I wasn't using          8           Q   When was the last time you had a car prior to
9    it.                                                               9    this incident?
10         Q      So from the time that you rented the vehicle         10          A   I can't remember.
11   until the time that you were arrested, you were always            11          Q   Why rent a car from Avis in the -- at the
12   in the vehicle?                                                   12   Philadelphia International Airport?
13         A      I always had possession of the vehicle.              13          A   The prices were better.
14         Q      Okay. Did you sleep in the vehicle?                  14          Q   And how did you get down to the Philadelphia
15         A      I actually did a couple times.                       15   Airport to pick up the vehicle?
16         Q      Okay.                                                16          A   I have a sister -- I have family that live,
17         A      Being like burnt out from class and stuff.           17   so it was easy to move.
18         Q      The times that you didn't sleep in the               18          Q   And how long had you planned to keep that
19   vehicle, though, where would the vehicle be kept?                 19   vehicle, the rental vehicle?
20   Where was it parked?                                              20          A   I can't remember.
21         A      It would be wherever I was at the time, like         21          Q   Was there a specific reason that you got the
22   with college girls. College. Sorry, man, but I can                22   vehicle or rented the vehicle?
23   be with -- anywhere I'm at. It's kind of like a                   23          A   I didn't have a car and I didn't want to walk
24   hectic time for me at that moment, like the school                24   around or ride a bike.
25   and --                                                            25          Q   Is there public transportation in


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1    Williamsport?                                                      1    vehicle that you were in at the time you were
2         A        Yes, there is.                                       2    arrested, did you use that credit card for any other
3         Q        Okay. That was something you didn't want to          3    purchases or any other items or was it strictly for
4    do, either?                                                        4    the rental car?
5         A        Not really if I could help it.                       5             A   I can't remember.
6         Q        When did you start Penn Tech classes that            6             Q   Was that credit card in your name?
7    semester?                                                          7             A   It was.
8         A        I started the fall semester in August.               8             Q   What was your cell phone number at the time
9         Q        Okay. And at the time that you started               9    of this incident, so October 2nd of 2020?
10   classes, did you have that rental car that you were in             10            A   I can't remember.
11   when you were arrested on the date of the incident                 11            Q   Have you ever had the cell phone number
12   we're here about, did you have that vehicle at the                 12   215-301-0606?
13   time you started the classes?                                      13                MR. GRYSKEWICZ: I would direct you not to
14        A        I had a car. I can't remember specifically           14   answer that question and assert your Fifth Amendment
15   make and model of the vehicle at that time.                        15   privilege.
16        Q        So was it your practice to rent cars because         16                THE WITNESS: On advice of counsel, I'd like
17   you didn't have one?                                               17   to invoke my Fifth.
18        A        Sometimes, depending on the need for                 18   BY MS. LAUGHLIN:
19   transportation.                                                    19            Q   There was a phone that was retrieved either
20        Q        So you rented vehicles from the Avis at the          20   on you or the vehicle at the time you were arrested.
21   Philadelphia Airport prior to renting the vehicle that             21   Do you recall that?
22   was -- you were using at the time of this arrest?                  22            A   I recall having a cell phone.
23        A        Can you repeat the question?                         23            Q   Okay. What kind of phone did you have at
24        Q        Sure. Had you rented vehicles from the Avis          24   that time?
25   at the airport prior to the vehicle you were using at              25                MR. GRYSKEWICZ: I direct you not to answer

                                                                   66                                                                     68
1    the time of this arrest?                                           1    that question and assert your Fifth Amendment
2         A        Yes.                                                 2    privilege.
3         Q        How many different occasions would you say           3                 THE WITNESS: On the advice of counsel, I
4    you had rented a vehicle from Avis before this                     4    wish to invoke my Fifth.
5    incident?                                                          5    BY MS. LAUGHLIN:
6         A        I can't remember, honestly.                          6             Q   And you had a phone on you at the time of
7         Q        And when you would rent vehicles from Avis,          7    your arrest?
8    did you have your own car insurance?                               8             A   On me meaning --
9         A        I can't remember.                                    9             Q   On you, with you. Either on your person or
10        Q        Would you purchase the insurance through             10   in the vehicle with you.
11   Avis?                                                              11            A   Yes. Can't remember where specifically,
12        A        I can't remember if I purchased it or if I           12   but --
13   had actual car insurance.                                          13            Q   And that part -- or that phone had been --
14        Q        And they typically require you to have a             14   had been seized or taken by the police?
15   credit card on file, correct?                                      15            A   I mean, I was taken by the police, so I would
16        A        Correct.                                             16   imagine everything that I had was taken, too.
17        Q        And did you typically use the same credit            17            Q   Did you ever get that phone back?
18   card when you would rent a vehicle from Avis?                      18            A   I did get the phone back.
19        A        I can't remember. I had a couple credits             19            Q   I'm sorry. I didn't catch that?
20   cards, so it's a possibility it could have been.                   20            A   I did get the phone back.
21        Q        And in this particular case with the car that        21            Q   You did? And what did you do with it after
22   was -- you were using at the time of your arrest, you              22   you got it back?
23   had used a Visa?                                                   23            A   I can't remember what I did with it
24        A        I can't remember which card I used.                  24   specifically.
25        Q        And the card that you used to rent the               25            Q   Is that a phone that you then gave to your


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1    son to use?                                                       1          Q     And you've only given him the one phone?
2            A    That's a possibility.                                2          A     Correct.
3            Q    At what point did you get the phone back?            3          Q     Was there anything else that was seized by
4            A    I can't remember when I got it back, but it          4    the police other than the car and the phone on the
5    was -- my memory is a little hazy.                                5    date that you were arrested?
6            Q    Would someone -- would that phone have been          6          A     Can you repeat the question?
7    released to someone other than you prior to being                 7          Q     Sure. Was there anything else seized from
8    released from jail?                                               8    you at the time you were arrested other than the
9            A    I can't remember when I got the phone back.          9    vehicle and the phone?
10           Q    Did you ever get the vehicle back that you           10         A     I can't remember specifically if there was
11   were driving that day?                                            11   anything else.
12           A    I didn't.                                            12         Q     At the time you were arrested, you were read
13           Q    What happened to that vehicle?                       13   your Miranda rights, correct?
14           A    I can't remember what happened to the                14         A     Correct.
15   vehicle.                                                          15         Q     And you know what I mean when I say Miranda
16           Q    Did anyone on your behalf pick up the vehicle        16   rights?
17   from the Williamsport impound lot?                                17         A     Correct.
18           A    Not to my knowledge, but I -- again, I was           18         Q     And you decided to invoke those, you didn't
19   incarcerated, so --                                               19   want to speak to them without an attorney, correct?
20           Q    Did anyone tell you that they picked up the          20         A     Correct.
21   vehicle for you after it had been released from the               21         Q     Do you know if the police found anything in
22   Williamsport impound lot?                                         22   the vehicle you were driving on the date of your
23           A    I can't remember.                                    23   arrest?
24           Q    Do you still have the phone that was seized          24         A     I don't.
25   and then returned to you in this incident?                        25         Q     At some point your bail was reduced, is that

                                                                  70                                                                    72
1            A    I've having a hard time remembering when I           1    correct?
2    got the phone and what I did with the phone, so -- I              2          A     Correct.
3    can't tell you if it's available or not. My memory's              3          Q     Do you know when that was?
4    hazy on it, the phone.                                            4          A     I can't remember when specifically.
5            Q    I'm going to show you the initial                    5          Q     According to my records, there was a
6    disclosures, that one in particular under two. I only             6    stipulated order on May 19th of 2021 that reduced the
7    have one extra copy. Have you had the chance to read              7    bail. Do you have any reason to believe that that
8    that?                                                             8    date is incorrect?
9            A    Yes.                                                 9          A     I don't think so. It's consistent -- pretty
10           Q    And those are the disclosures of Plaintiff,          10   consistent around that time frame.
11   you being the Plaintiff. And it indicates the phone               11         Q     I'm sorry.
12   seized during the traffic stop is in the possession of            12         A     It's pretty consistent around that time
13   Anthony Barasky's minor child and has been used by                13   frame.
14   Anthony Barasky's minor child since it was returned to            14         Q     And then at that point it was 50,000, but
15   Plaintiff by the Williamsport police. Did I read that             15   unsecured. Is that your understanding?
16   correctly?                                                        16         A     I can't remember the specific bail order.
17           A    Yes, you did.                                        17         Q     And whatever it was reduced to, you were able
18           Q    Does that refresh your recollection that             18   to be released from prison?
19   this -- once you got the cell phone back, that you --             19         A     I wasn't released.
20   it was used by your minor son or minor child?                     20         Q     What happened?
21           A    Yes. I remember giving him a phone.                  21         A     I went back to a state facility.
22           Q    And which son is that that had the phone?            22         Q     So after your bail was reduced, you went to a
23           A    Nyeo.                                                23   state facility?
24           Q    And does he still have that same phone?              24         A     Correct.
25           A    Yes. The phone that I gave him.                      25         Q     Do you know why?


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1          A      Because of me being a -- under detainer, a           1                 MR. GRYSKEWICZ: I direct not to answer that
2    state detainer.                                                   2    question and assert your Fifth Amendment privilege.
3          Q      What does that mean?                                 3                 THE WITNESS: On the advice of counsel, I
4          A      I'm detained. I'm not free to leave.                 4    wish to invoke my Fifth Amendment.
5          Q      Okay. Were you on probation or parole at the         5    BY MS. LAUGHLIN:
6    time of this incident?                                            6          Q      Do you know what the name Plug means?
7          A      I was on parole.                                     7                 MR. GRYSKEWICZ: I would instruct you not to
8          Q      You were on --                                       8    answer that question and assert your Fifth Amendment
9          A      I was on state parole.                               9    privilege.
10         Q      And is that why you were detained?                   10                THE WITNESS: On the advice of counsel, I
11         A      Correct.                                             11   wish to invoke my Fifth Amendment.
12         Q      And so even after your bail was reduced, you         12                MS. LAUGHLIN: Sorry, Mark. Here. I feel
13   continued to be detained?                                         13   like you're left out.
14         A      Correct. Just transferred to another                 14                (Whereupon, a document was produced and
15   facility, state facility.                                         15   marked as Deposition Exhibit No. 3 for
16         Q      And is that because the crime that you were          16   identification.)
17   arrested for on October 2nd of 2020, violated your                17   BY MS. LAUGHLIN:
18   state parole?                                                     18         Q      Okay, I'm going to hand you a packet that
19         A      I don't think the decision was to be made            19   we've mark as Exhibit 3, which consists of nine pages.
20   that I violated state parole, you just have a detainer            20   These are, if you page through them, photographs of
21   pending the disposition of your current criminal                  21   the screen of a phone with some text messages on them.
22   charges.                                                          22   And the first one there is a little blurry, but it
23         Q      When were you actually released then from            23   says at the very bottom of the first page, got your
24   state custody?                                                    24   bread. I don't know what that next word is, plus
25         A      I can't remember the specific date, but it           25   money three. Do you see that?

                                                                  74                                                                     76
1    was later on after that period of me being                        1          A      I can't see it.
2    transferred.                                                      2                 MR. WHITE: What's the Bate on that?
3          Q      How long were you incarcerated after this            3                 MS. LAUGHLIN: It is 32.
4    incident?                                                         4    BY MS. LAUGHLIN:
5          A      Can you repeat the question?                         5          Q      How about we go to the last page with a Bates
6          Q      How long were you incarcerated as a result of        6    stamp of 41. Oh, I'm sorry. It's 138, Austin. But
7    this incident?                                                    7    if we go to 147 Bates stamp, there is a better copy.
8          A      I would have to calculate the days                   8    There's October 2nd, 2020. Do you see that at the
9    specifically.                                                     9    bottom?
10         Q      You don't know?                                      10         A      I do.
11         A      But it was a period from October 1st to              11         Q      And then the very last entry is, got your
12   approximately late June, possibly early July. Again,              12   bread, bro, plus money three. Do you see that?
13   I'm not too fresh on the specific date of when I was              13         A      I do.
14   released.                                                         14         Q      Do you recall receiving that text that day
15         Q      I show you what we'll mark as Barasky 2.             15   from Sumpter?
16                (Whereupon, a document was produced and              16                MR. GRYSKEWICZ: I'd instruct you not to
17   marked as Deposition Exhibit No. 2 for                            17   answer that question and assert your Fifth Amendment
18   identification.)                                                  18   privilege.
19   BY MS. LAUGHLIN:                                                  19                THE WITNESS: On the advice of counsel, I
20         Q      This is a photograph of a cell phone that's          20   wish to invoke my Fifth.
21   been produced in discovery by the county indicated to             21   BY MS. LAUGHLIN:
22   be a phone that was taken into custody by the police              22         Q      Do you know what got your bread means?
23   at the time of or just after your arrest. Is that the             23                MR. GRYSKEWICZ: I'd instruct you not to
24   phone that you had on you the day of your arrest that             24   answer that question an assert your Fifth Amendment
25   we're here about?                                                 25   privilege.


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1                 THE WITNESS: On the advice of counsel, I             1          Q     How would you get the dates?
2    wish to invoke my Fifth Amendment.                                2          A     I mean, I would imagine through paperwork.
3    BY MS. LAUGHLIN:                                                  3          Q     Okay. From when you went in and when you
4            Q    Do you know what plus money three means?             4    were released?
5                 MR. GRYSKEWICZ: I'd instruct you not to              5          A     Correct.
6    answer that and invoke your Fifth Amendment privilege.            6          Q     And you were charged with criminal use of a
7                 THE WITNESS: On the advice of counsel, I             7    communication facility?
8    wish to invoke my Fifth Amendment.                                8          A     I was.
9    BY MS. LAUGHLIN:                                                  9          Q     And do you have an understanding of what that
10           Q    Is that somebody asking for additional three         10   charge means?
11   grams?                                                            11         A     I don't.
12                MR. GRYSKEWICZ: I'd instruct you not to              12         Q     As a result of -- strike that. Those charges
13   answer that question and invoke your Fifth Amendment              13   were dismissed?
14   privilege.                                                        14         A     To my knowledge, yes.
15                THE WITNESS: On the advise of counsel, I             15         Q     Were you offered a deal on that charge but
16   wish to invoke my Fifth Amendment.                                16   then weren't able to take that because of the state
17   BY MS. LAUGHLIN:                                                  17   parole detainer?
18           Q    Did Matthew Sumpter owe you money?                   18               MR. GRYSKEWICZ: I would object to that. It
19                MR. GRYSKEWICZ: I'd instruct you not to              19   covers -- it asks for information based on
20   answer that and invoke your Fifth Amendment privilege.            20   attorney/client privilege. I would instruct you not
21                THE WITNESS: On the advice of counsel, I             21   to answer it.
22   wish to invoke my Fifth Amendment.                                22   BY MS. LAUGHLIN:
23   BY MS. LAUGHLIN:                                                  23         Q     Were you offered a plea or a deal with regard
24           Q    On the day that you were arrested, were you          24   to that charge of criminal use of communication
25   going to meet Matthew Sumpter to get money from him?              25   facility?

                                                                  78                                                                    80
1                 MR. GRYSKEWICZ: I would instruct you not to          1          A     I can't remember.
2    answer that question and invoke your Fifth Amendment              2          Q     As a result of the arrest and incarceration,
3    privilege.                                                        3    you're not alleging any kind of physical injuries,
4                 THE WITNESS: On the advice of counsel, I             4    correct?
5    wish to invoke my Fifth Amendment.                                5          A     Can you repeat the question?
6    BY MS. LAUGHLIN:                                                  6          Q     Yeah. As a result --
7            Q    Going through the different pages of the text        7          A     So I understand it.
8    messages, are these text messages that are between you            8          Q     -- of the arrest and the jail time, you're
9    and Matthew Sumpter on different dates?                           9    not alleging any kind of physical injuries. So back,
10                MR. GRYSKEWICZ: I would instruct you not to          10   neck, shoulder, cuts, bruises, anything that you
11   answer that question and assert your Fifth Amendment              11   needed treatment for.
12   privilege.                                                        12         A     No.
13                THE WITNESS: On the advice of counsel, I             13         Q     Are you alleging that you sustained any type
14   wish to invoke my Fifth Amendment.                                14   of emotional or mental injuries as a result of the
15   BY MS. LAUGHLIN:                                                  15   arrest and your incarceration?
16           Q    In the complaint it says you were                    16         A     Yes.
17   incarcerated for 229 days. Does that sound right?                 17         Q     Did you treat at all for those mental or
18           A    How it sounds and what is factual is -- it           18   emotional injuries?
19   was a significant period of time.                                 19         A     Excuse me?
20           Q    Less --                                              20         Q     Did you treat with anyone at all? Did you
21           A    It could have possibly been more, it could           21   see a doctor, a counselor, a therapist, psychologist,
22   be --                                                             22   psychiatrist, anything like that?
23           Q    Okay.                                                23         A     Yes, I've seen the doctor, the psych at the
24           A    I can't really give you the definite answer          24   prison.
25   without the dates.                                                25         Q     And which prison?


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1            A   Lycoming County Prison.                              1         A       I was a participate until -- up until last
2            Q   And how often did you see psych at the               2    year, but I haven't used marihuana for about three
3    prison?                                                          3    years now.
4            A   It was kind of like a -- the best way I could        4         Q       But you still --
5    describe, like a -- I don't know, maybe like just to             5         A       Not three years.
6    get a prescription based off of --                               6         Q       I'm sorry?
7            Q   And what did you get prescribed?                     7         A       Scratch that. Not three years. A couple
8            A   I have no idea. I can't remember.                    8    years, I would say.
9            Q   And were you on any kind of medications prior        9         Q       So less than three?
10   to going -- to being incarcerated in the Lycoming                10        A       I don't know. I can't give you a specific
11   County Prison?                                                   11   time, like that amount of time, but it's been a long
12           A   No.                                                  12   time since I -- I just kind of was a participant and
13           Q   Had you ever been on any kind of medication          13   opted that out of the program.
14   for any mental, emotional, psychological conditions?             14        Q       Do you --
15           A   Like what -- in comparison to like what I was        15        A       It didn't serve any purpose any more.
16   taking at the prison?                                            16        Q       Do you still have a medical marihuana card?
17           Q   Any at all in your life.                             17        A       I don't.
18           A   Meaning?                                             18        Q       When was the last time you renewed your
19           Q   So have you been -- prior to being prescribed        19   medical marihuana card?
20   something at the Lycoming County Prison, had you had             20        A       I renewed it -- I can't remember the month,
21   any -- prescribed any medication for mental,                     21   but it was in 2022, renewed it for 2023. Again, I
22   emotional, psychological issues?                                 22   can't remember that month, but after that I didn't
23           A   Yes.                                                 23   renew it any more.
24           Q   Okay. What periods of time?                          24        Q       Is there a particular doctor that you go
25           A   I can't remember periods.                            25   through?

                                                                 82                                                                     84
1            Q   How about age?                                       1         A       It was initially when I got into the program.
2            A   I can't remember age. That would be kind of          2         Q       And I think I saw somewhere, was that in
3    hazy.                                                            3    Philadelphia?
4            Q   Would you have been an adult --                      4         A       Yes.
5            A   Yes.                                                 5         Q       And whenever you would renew your medical
6            Q   -- or a minor?                                       6    marihuana card, was it also through that Philadelphia
7            A   An adult.                                            7    program?
8            Q   And what were the conditions that you were           8         A       It's kind of hard for me to like say who it
9    treating for?                                                    9    was. It was more so through a call and just give up
10           A   Post-traumatic stress.                               10   your ID information and then over -- online. It
11           Q   And what kind of medications were you                11   wasn't me having to go. Like after the initial
12   prescribed for post-traumatic stress?                            12   enrollment, I just would annually -- someone would
13           A   I was a patient in a medical marihuana               13   call me like as it's about to expire and I would just
14   program.                                                         14   go through the process.
15           Q   So was it just medical marihuana that you            15        Q       So you would get a phone call, they'd ask you
16   were prescribed?                                                 16   questions, you'd answer them and then your card would
17           A   Yes.                                                 17   be renew?
18           Q   And what was the post-traumatic stress that          18        A       Correct.
19   you suffered from?                                               19        Q       You paid the fee?
20           A   It was a variety of things, just -- can't            20        A       I would pay whatever fee, and plus whatever
21   really remember. I'm not -- I'm not a participant in             21   the annual for the doctor visit.
22   the program any more, so I can't really remember                 22        Q       And when you were at Lycoming County Prison
23   specifically at that time.                                       23   and you had your consultation to get medication, what
24           Q   When was the last time when you were part of         24   was that medication that you were prescribed?
25   the medical marihuana program?                                   25        A       I can't remember what it was. It was a


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1    psychic. Kind of put me in a -- like sleep basically.             1         A     They didn't.
2         Q       What was it for?                                     2         Q     Did the depression and anxiety at some point
3         A       It was just for me having -- felt a little           3    go away?
4    like depression and anxiety, and at that time just not            4         A     I wouldn't say it went away. More dormant
5    in a right mental space. Felt like I needed to talk               5    than anything. Like I still have incidents and like
6    to somebody and kind of explain my circumstance, how              6    periods of times, like I'm sure any person going
7    I'm feeling and stuff at the time, and that was the               7    through things would.
8    result of that conversation, me seeing the doctor.                8         Q     And that would just be related to happenings
9         Q       So they prescribed you a medication. Did you         9    in your life, not necessarily related to this arrest?
10   go back and have kind of like talk therapy?                       10        A     I disagree with that, because those
11        A       I can't remember if I had a follow up or             11   happenings could be because of the arrest and --
12   anything. I think it was more so just a -- that                   12        Q     And there could be happenings that are not
13   initial and then the prescription.                                13   related to the arrest as well, correct?
14        Q       So one visit, you got medication, and did            14        A     That's a possibility, but --
15   that help?                                                        15        Q     And have there been things that aren't
16        A       I don't think it helped me. I think it just          16   related to this arrest that have led to depression and
17   more so put me to sleep.                                          17   anxiety?
18        Q       How long did you take it for?                        18        A     Can you repeat that for me?
19        A       I can't remember how long I took it.                 19        Q     Sure. Have there been other things happening
20        Q       Were you still taking it at the time that you        20   in your life other than this arrest that have caused
21   were released?                                                    21   depression or anxiety since you've been released?
22        A       I wasn't.                                            22        A     I wouldn't really say that caused depression
23        Q       Have you gone back and gotten a prescription         23   and anxiety, if I had to attribute it to those two
24   from any doctors since you have been released?                    24   things, but I mean, there are typical things in my day
25        A       I haven't.                                           25   to day that make feel that way. I wouldn't say that

                                                                  86                                                                  88
1         Q       Have you treated at all since you've been            1    they made me depressed or anxious.
2    released for any kind of emotional -- so depression or            2         Q     Now, there were a number of documents that
3    anxiety as a result of this incident since you've been            3    were provided with regard to damages. What do you
4    released?                                                         4    recall, you know, were damages that you incurred as a
5         A       Can you repeat the question?                         5    result of the arrest and the incarceration?
6         Q       Sure. Have you -- since you've been                  6         A     Meaning? Like --
7    released, have you treated with anyone for depression             7         Q     Did you say meaning?
8    or anxiety?                                                       8         A     Yeah.
9         A       Not anyone professionally.                           9         Q     So any kind of monetary damages, bills that
10        Q       Anyone unprofessionally?                             10   you have because they're related to this incident? I
11        A       My mom's a good listener. Like family or             11   know one of the things was there was documentation
12   maybe like people more in my personal space where I               12   from Penn Tech related to your bill, or the bill
13   kind of talk about things.                                        13   related to the car rental. Anything else that you
14        Q       Did you have any health insurance at the time        14   recall? I'm going to go through those other ones.
15   that you were incarcerated from this incident?                    15        A     I can recall those things. Like my student
16        A       I can't remember, honestly.                          16   loans, credit cards. Like children, having to provide
17        Q       Your discovery answers indicate that you             17   for my children. Not being able to be employed.
18   received Medicaid for a short period of time in or                18   Attorney fees. I can -- I'm trying to pull
19   around 2022. Do you recall that?                                  19   from different areas.
20        A       2022?                                                20        Q     When you talk about provide for your
21        Q       Yes.                                                 21   children, who do your children live with?
22        A       Yeah, I can recall that.                             22        A     They live with their mothers.
23        Q       Okay. And did Medicaid pay for any bills for         23        Q     And do their mothers have -- what's your
24   treatment or prescription related to anything that you            24   custody arrangement?
25   would have treated for related to this incident?                  25        A     We don't have anything, per se, through the


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1    courts, just kind of like co-parenting thing.                     1          A     Correct.
2          Q      Okay.                                                2          Q     When you talked about credit cards, what
3          A      Whenever like availability as far as from me         3    credit cards did you have?
4    goes, but my job requires me to work a significant                4          A     I can't remember the specific credit cards,
5    portion of time, so I'm not really around too much.               5    but I remember them being secured.
6          Q      And I know you said you had child support            6          Q     What's that mean?
7    obligations for one of your sons?                                 7          A     Meaning like me having to put money -- like
8          A      I do.                                                8    securing it, kind of like a loaded prepay card, I
9          Q      And that would be through the court?                 9    guess.
10         A      Yes.                                                 10         Q     Okay.
11         Q      The other two sons, you don't have any -- any        11         A     With the benefits of them reporting -- like
12   support orders through the court?                                 12   reporting for you to the bureaus.
13         A      No.                                                  13         Q     And so if you have a loaded prepaid card, are
14         Q      And what -- how much support do you have to          14   there times that you have to -- that you're required
15   pay for your son that you owe child support for per               15   to put money on it or just when it gets low you do it?
16   month?                                                            16         A     No, they just hold the money that you have
17         A      Right now currently I believe it's 139               17   for whatever credit card. Like if you have a bank
18   weekly.                                                           18   account, then that money will be on hold where you
19         Q      And what was it at the time that you were            19   can't access it --
20   incarcerated back in -- from this incident, so                    20         Q     Okay.
21   October --                                                        21         A     -- through like withdrawal in the form of a
22         A      I didn't have any. This was recent, like the         22   credit card, to kind of like get the -- I guess make
23   child support through the court thing. This happened              23   the payments as far as the credit system in general
24   recently, like maybe late last year or something.                 24   goes.
25         Q      So you'd have no child support obligations           25         Q     So you wouldn't have payments, then, for

                                                                  90                                                                    92
1    that were official --                                             1    those -- like a traditional credit card, because that
2          A      Right, just --                                       2    money would already be there if you used it?
3          Q      -- at the time of this incident?                     3          A     Yeah. I mean, what happened with me being
4          A      Just unofficial things.                              4    incarcerated in the incident was however things took
5          Q      You said you weren't able to be employed.            5    place with the rental car, it resulted in some way my
6    You were on unemployed at the time that you were                  6    card being charged an extreme amount of money which
7    arrested?                                                         7    was way beyond the secure. Like the money that was
8          A      Correct.                                             8    supposed to be secure -- like it wasn't supposed to go
9          Q      What happened to the unemployment?                   9    beyond what was the limit on the credit card, but --
10         A      Meaning?                                             10   and I can't tell you how those type of things work,
11         Q      Were you still collecting unemployment while         11   but it ended up being charged like X amount, way
12   you were incarcerated?                                            12   beyond what it supposed to be.
13         A      No.                                                  13         Q     And what was the limit on that card?
14         Q      Did they cut that off when you got arrested          14         A     I can't remember the limit specifically.
15   or did it lapse because of some other reason?                     15   Especially like the card, I can't remember to be -- I
16         A      I'm not really sure how the unemployment             16   can't tell you to distinguish between what card was
17   works. I have never received it since. Well, I                    17   used, where and how much.
18   actually did apply for it between -- like a short                 18         Q     I hand you what we're marking as Barasky 4.
19   period between Road Safe and Parratt-Wolff, but it was            19               (Whereupon, a document was produced and
20   kind of like pending decision. But like as far as me              20   marked as Deposition Exhibit No. 4 for
21   going back and like looking at like the outcome of it,            21   identification.)
22   I just kind of was employed, so --                                22   BY MS. LAUGHLIN:
23         Q      And when you applied that next time, it was          23         Q     Do you recognize that, the document that's
24   after you had been incarcerated for this incident,                24   two pages?
25   right, between those two, Road Safe and --                        25         A     What was the question?


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1          Q      Do you recognize that document?                      1          Q     And on -- while you were incarcerated, did
2          A      Yes, I do.                                           2    your mother check your mail or open your mail?
3          Q      And is that your bill from your attorney?            3          A     I can -- I can't -- I couldn't answer that.
4          A      Yes, it is.                                          4    I don't know. I wasn't around to --
5          Q      And that's for bills that related to the             5          Q     Would she tell you or contact you in any way,
6    criminal charges?                                                 6    hey, I got these bills or I got these letters? Would
7          A      Yes, I believe so.                                   7    you talk about your mail?
8          Q      And then there were payments that you had            8          A     I can't remember talking about it.
9    made on the other side, on Page 2?                                9          Q     On other times when you had been incarcerated
10         A      This one here (indicating)?                          10   before 2020, did you have anybody that took care of
11         Q      Correct.                                             11   incoming mail?
12         A      Yes.                                                 12         A     I can't remember. Honestly, I don't --
13         Q      And is that what you were talking when you           13               (Whereupon, a document was produced and
14   were talking about attorney fees?                                 14   marked as Deposition Exhibit No. 6 for
15         A      Yes.                                                 15   identification.)
16                (Whereupon, a document was produced and              16   BY MS. LAUGHLIN:
17   marked as Deposition Exhibit No. 5 for                            17         Q     Show you what's been marked as Barasky 6. It
18   identification.)                                                  18   is a letter from West Branch Valley Credit Union.
19   BY MS. LAUGHLIN:                                                  19   There are three pages there. The first one, a letter
20         Q      I show you what we'll mark as Barasky 5.             20   from June 10th of 2021, a letter from December 31st of
21   Have you ever seen that letter before?                            21   2020, and a letter from December 23rd of 2020. Do you
22         A      Not that I can remember.                             22   see that?
23         Q      This was a letter that was provided to me by         23         A     Yes.
24   your attorney. You don't recall receiving this                    24         Q     And were those letters that you received from
25   letter?                                                           25   West Branch Valley Federal Credit Union?

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1          A      If I provided it to my attorney at some point        1          A     Yes.
2    in time, I had to -- I just can't recall it.                      2          Q     They're addressed to you and have your
3          Q      And that's your address there, the 1534              3    address on them?
4    Louisa Street?                                                    4          A     Yes.
5          A      Correct.                                             5          Q     And the first one that was sent out was
6          Q      And it's dated 11/10 of 2020?                        6    December 23rd of 2020. You were incarcerated at that
7          A      That's what it says there.                           7    time, so Page 3?
8          Q      And that letter indicates that the vehicle           8          A     Yes, I was.
9    that you had been driving the day that you were                   9          Q     And when did you first receive this letter?
10   arrested was releasable, that you could go pick it up?            10         A     I can't remember, but it would have to be
11         A      That's what it says.                                 11   upon release.
12         Q      And it indicates that there's a tow bill that        12         Q     So you weren't given any of this information
13   need to be paid prior to its release?                             13   while you were incarcerated?
14         A      Yes.                                                 14         A     I can't remember if I was or not.
15         Q      And did you pay that tow bill?                       15         Q     Okay. And at that point on December 23rd of
16         A      I didn't.                                            16   2020, your account -- it says your account had been
17         Q      Okay. And to our understanding, you or               17   overdrawn $379.39. Is this -- what kind of account
18   anyone on your behalf did not pick up the vehicle from            18   did you have with West Branch Valley Federal Credit
19   the Williamsport police?                                          19   Union?
20         A      I can't remember what happened to the                20         A     I had a savings and I had a checking. Both a
21   vehicle, but not to my knowledge.                                 21   savings and checking account.
22         Q      And at the time that this letter was sent --         22         Q     Do you know which account was overdrawn?
23   so 11/10 of '20, to that address, your mother would               23         A     I can't remember, honestly. I don't have any
24   have been living there?                                           24   business with them any more, so I don't --
25         A      Yes.                                                 25         Q     Did you ever pay the amount that was


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1    overdrawn?                                                       1            A   Correct. As far as my recollection goes.
2         A      I can't remember if I did or not, honestly.          2                (Whereupon, a document was produced and
3         Q      The next letter was sent on December 31st of         3    marked as Deposition Exhibit No. 7 for
4    2020. Did you also receive that after you were                   4    identification.)
5    released from jail? Page 2.                                      5    BY MS. LAUGHLIN:
6         A      Yes.                                                 6            Q   I've handed you what's been marked as Barasky
7         Q      And that indicates that your share secured           7    7, and it is a Visa statement. It is also in the
8    Visa is seriously past due. Is that the secured                  8    account number ending 7087, so it appears to be the
9    credit card that you were talking about earlier where            9    same thing, from the West Branch Valley Federal Credit
10   you would hold money?                                            10   Union. Does that make sense?
11        A      It's a possibility. I can't remember like            11           A   Yes, I can see it.
12   the specific numbers or the make of the card.                    12           Q   Okay. And so looking through this document,
13        Q      And it says ending in 7087. That does not            13   which is four pages, do you know what the charges were
14   help at all?                                                     14   for that you had outstanding from this Visa?
15        A      No.                                                  15           A   I don't.
16        Q      And so it says that it's past due. How was           16           Q   If you look at Page 2, it says Avis Rent A
17   your account past due when it's -- you explained to me           17   Car, $9,407.41?
18   that it was like a prepaid card?                                 18           A   Correct.
19        A      That's where my confusion comes in, because          19           Q   Is that where that was charged from?
20   this is the same card. These two are the same card.              20           A   It appears to be.
21        Q      Okay. And you're pointing to Page 1 and Page         21           Q   Now, there is a handwritten note that says
22   2?                                                               22   messed up SS number, then a line drawn down and says
23        A      Right. Correct. Page 1 and Page 2 are the            23   SCU. Is that your writing?
24   same card. And as you can see, the total balance owed            24           A   Correct.
25   is $9,779.05. That's nowhere near the balance. I                 25           Q   What does that mean?

                                                                 98                                                                    100
1    never had a credit card -- a line of credit that high.           1            A   I couldn't tell you what it means like at the
2         Q      And so --                                            2    time I wrote it probably years ago, but from me
3         A      So as far as -- I'm sorry. Not to cut you            3    looking at it, I'm probably questioning why this is so
4    off. But as far as the overcharging and how that took            4    high of a charge.
5    place and the aspect of that, I'm not too familiar               5            Q   And do you know if it was for the vehicle
6    with how that works. And I just know that this is                6    that was seized on the date of your arrest in October
7    what was owed and it was -- I don't know if somewhere            7    of 2020?
8    there's a clause with the credit company that they can           8            A   And then another confusing point for me is,
9    do these type of -- I have no idea how that works.               9    again, like I can't put you in my -- like I can try as
10        Q      And so with that balance of $9,779.05, do you        10   best I can to put you in what I'm thinking from what
11   know what that is for?                                           11   I'm looking at now, is these dates here where this
12        A      I don't know specifically what it's for. It          12   transaction and this post is, I was incarcerated.
13   didn't give me any information.                                  13   So --
14        Q      And has it ever been paid?                           14           Q   1/4 and 1/26?
15        A      No.                                                  15           A   Correct. So probably trying to figure out how
16        Q      Was it continuing to increase in the amount          16   did this get charged this much and how did it get
17   that you owed after this June 10th of 2021?                      17   charged these dates, which would probably explain
18        A      I couldn't tell you. I don't -- I can't              18   that. But again, I can't really -- it's been a couple
19   remember.                                                        19   years so it's hard for me to remember.
20        Q      June 10th of 2021, were you still                    20           Q   You don't know if these changes are related
21   incarcerated?                                                    21   to the Nissan that was seized by the police on the
22        A      Yes.                                                 22   date of your arrest?
23        Q      And so when you received notice of this              23           A   I couldn't -- from my understanding of rent a
24   letter, for Page 1 of Exhibit 6, it wouldn't have been           24   cars and how they work, is if I owed this amount of
25   until after you were released?                                   25   money, I wouldn't be able to rent a car. So the only


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1    explanation that I can try to offer you is it had to              1    BY MS. LAUGHLIN:
2    be from that car or I would never -- I wouldn't be                2            Q    I'm going to show you the Pennsylvania
3    able to do business with Avis, to have a outstanding              3    College of Technology student bill. It's been marked
4    balance like that.                                                4    as Barasky 8. Is that the bill you received from Penn
5          Q     You were talking about the transaction date           5    Tech?
6    and the post date, 1/4 and 1/26, being at the time you            6            A    Yes.
7    were incarcerated. That would have been the time that             7            Q    And that was for fall of 2020?
8    you incarcerated as a result of the arrest we're here             8            A    Correct.
9    about, correct?                                                   9            Q    And it looks like, from this bill, you were
10         A     I mean, it has no year so it could be -- I'm          10   taking ten credits? Because you had credits and then
11   just -- I just was trying to maybe -- maybe I was                 11   the lab hours.
12   confused about -- but I never -- can't remember                   12           A    That's what it looks like, but I can't
13   getting any answers to when that specific date was.               13   remember back to that time how many credit, per se,
14   It could have been a typo. It could be anything. I                14   but that's what it appears on this statement.
15   just -- looking at it, couldn't really tell you                   15           Q    Do you have any reason to doubt that this
16   what -- the factual answer, what it was then or what              16   information is correct?
17   it was.                                                           17           A    No.
18         Q     Now, if you look at --                                18           Q    Now, it looks like you got a state grant and
19         A     I would imagine -- I'm sorry, I cut you off.          19   then you had some student loans.
20         Q     Go ahead.                                             20           A    Correct.
21         A     I would imagine that there's a way that this          21           Q    And then there was a refund that was issued
22   can be found out as to what this charge was and to                22   to the student. Do you see that? $2,825.90?
23   what vehicle it was through reference.                            23           A    Correct.
24         Q     Okay.                                                 24           Q    And what did you use that for?
25         A     With this reference number available. So              25           A    I can't remember, honestly. It was a couple

                                                                 102                                                                     104
1    there should be ways that -- with this paper or this              1    years ago.
2    number, that it can -- that question could be                     2            Q    And when would you have received that refund?
3    answered, but I can't answer that question for you.               3            A    There's a date here for the received, but I
4          Q     And if you go to the next page, the last              4    can't remember the specific date on when I received
5    page --                                                           5    it.
6          A     The last page?                                        6            Q    And you said there was a received date?
7          Q     The next to last page. Yep. That indicates            7            A    It says deposit received there. I don't know
8    a transaction date of 2/14 and a post date of 2/15,               8    if that's from the FAFSA or -- I'm kind of confused as
9    and that was for tolls for C-O-M-N-J, so New Jersey.              9    to --
10   Do you see that, for 17.15?                                       10                MR. GRYSKEWICZ: Why don't you point to it?
11         A     Here you say?                                         11                THE WITNESS: Sorry. Right here where it
12         Q     Correct.                                              12   says deposit received.
13         A     Yeah, I see it.                                       13   BY MS. LAUGHLIN:
14         Q     Okay. And so if it was 2/14 of 2021, you              14           Q    Okay.
15   would have been incarcerated at that time.                        15           A    But I don't -- again, I don't know if that's
16         A     Is that a question --                                 16   the deposit from the government or if it -- it's kind
17         Q     Yes.                                                  17   of confusing to me.
18         A     -- or is that a statement?                            18           Q    Understood. So it looks like there was
19         Q     You would have been incarcerate at that time,         19   also -- there's a balance due of $2,723. Is that
20   correct?                                                          20   correct?
21         A     If it was for 2/14/2021? That's correct,              21           A    That's what it looks like. But again, I
22   that would be -- I would have been incarcerated.                  22   don't know how to -- those systems work.
23               (Whereupon, a document was produced and               23           Q    And then there was a subsequent debt
24   marked as Deposition Exhibit No. 8 for                            24   collection notice for that bill. Do you recall that?
25   identification.)                                                  25           A    Yes. I do.


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1                 (Whereupon, a document was produced and               1           A      I'm not sure.
2    marked as Deposition Exhibit No. 9 for                             2           Q      Are you still getting notices from PNC Bank
3    identification.)                                                   3    that you owe them money?
4    BY MS. LAUGHLIN:                                                   4           A      Not that I can remember. I don't remember
5          Q      I'm handing you it was marked Barasky 9. Is           5    getting anything from --
6    that that collection notice --                                     6           Q      Did you ever pay this negative balance?
7          A      Yet.                                                  7           A      I didn't.
8          Q      -- for $2,723 that was owed to Penn Tech, and         8           Q      I actually have an extra one of those.
9    then they added collection costs?                                  9                  (Whereupon, a document was produced and
10         A      Yes, that's what it appears.                          10   marked as Deposition Exhibit No. 11 for
11         Q      Have you ever paid that pill?                         11   identification.)
12         A      I have not.                                           12   BY MS. LAUGHLIN:
13         Q      Has anyone paid it on your behalf?                    13          Q      So I'll show you what's been marked as
14         A      They haven't.                                         14   Barasky 11, and this was from the credit collection
15         Q      Are you still getting collection notices?             15   services. And the date is cut off. It was May 29th
16         A      No, I haven't received any, that I can                16   of some date. The amount of the debt is 275.91, and
17   remember, but it is on my credit report as a                       17   that again is on behalf of PNC Bank. Do you recall
18   default -- or what's the term I'm looking for? A                   18   getting this letter?
19   collection on my credit report. A collection.                      19          A      Yes.
20                (Whereupon, a document was produced and               20          Q      And you still don't know if that's been paid
21   marked as Deposition Exhibit No. 10 for                            21   off or not?
22   identification.)                                                   22          A      No, it hasn't. I can't remember paying it
23   BY MS. LAUGHLIN:                                                   23   off.
24         Q      I going to show you what we've marked as              24          Q      Okay.
25   Barasky 10. This was something else that was provided              25                 (Whereupon, a document was produced and

                                                                  106                                                                      108
1    in discovery. It was from PNC Bank. There are two                  1    marked as Deposition Exhibit No. 12 for
2    pages. The first is from March 17th of 2021,                       2    identification.)
3    indicating you had a negative balance of 271.91. Do                3    BY MS. LAUGHLIN:
4    you recall that?                                                   4           Q      The next thing I'll mark as Barasky 12, this
5          A      I recall receiving the number for it.                 5    was the cancellation notice from AT&T. And what was
6          Q      And did you receive this while you were still         6    that related to? It looks like a past due amount of
7    incarcerated or not until after?                                   7    $230.62.
8          A      I can't remember when I -- when I exactly             8           A      Looks like my phone bill kept getting -- kept
9    received it.                                                       9    going on until they stopped it.
10         Q      Was there anybody that was keeping up with            10          Q      And is that for a cell phone?
11   your mail or bringing you PNC statements or letters                11          A      Yes.
12   while you were incarcerated?                                       12          Q      And that was -- that plan would have been in
13         A      I can't remember as far as -- like as far as          13   your name, Anthony Marcus Barasky?
14   my email or bringing -- being brought to me or                     14          A      That's my name.
15   anything of that nature. I can't really recall when I              15          Q      And was -- the wireless number is
16   received it.                                                       16   267-496-5589. That's what it says there?
17         Q      The second page was from May 1st of 2021 from         17          A      For the cancellation?
18   PNC Bank, and indicates that your account is closed                18          Q      Correct.
19   with a negative balance of 275.91. Did I read that                 19          A      Yes.
20   correctly?                                                         20          Q      Do you have cell phone plans with any other
21         A      Correct.                                              21   providers at the time of this arrest or incarceration?
22         Q      And that is the same account as Page 1                22          A      No.
23   because it's identified as 5,584. Do you know if that              23          Q      Do you have any prepaid plans?
24   has increased at all after being closed, if they had               24          A      I can't remember if this is a prepaid or not.
25   any additional fees?                                               25   It doesn't appear to be, but I can't remember.


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1          Q      If you had a prepaid plan, would it -- would         1          Q     And so she was making some payments as of
2    it be usual that you would have an outstanding bill?              2    January 6th of 2021?
3          A      I don't think so. That's why I read that             3          A     Yes.
4    statement.                                                        4          Q     And did you have to pay her back for those
5                 (Whereupon, a document was produced and              5    payments?
6    marked as Deposition Exhibit No. 13 for                           6          A     I'm still work it off now.
7    identification.)                                                  7          Q     Okay. And was she living at that property?
8    BY MS. LAUGHLIN:                                                  8          A     She's not -- she doesn't live here, so -- but
9          Q      The next one's been marked as Barasky 13, is         9    she does travel -- well, at that period of time so she
10   a letter from Viking Client Services, and that's dated            10   would stay there.
11   June 14th of 2021. The account balance is 673.32 from             11         Q     Where does she live?
12   Avis Rent A Car. Do you see that?                                 12         A     She lives in Philadelphia.
13         A      Correct.                                             13         Q     And so you were able -- how did she know that
14         Q      Do you know why there's an outstanding               14   you weren't able to make payments or that payments
15   balance to Avis Rent A Car?                                       15   were due?
16         A      I would assume from the rental.                      16         A     I was incarcerated.
17         Q      Do you know which rental?                            17         Q     Okay.
18         A      I'm not sure. I can't remember.                      18         A     And she's a co-signer so she has the same
19         Q      Has that ever been paid?                             19   access to information that I do.
20         A      It hasn't.                                           20         Q     Would you have contacted her at all to say,
21                (Whereupon, a document was produced and              21   hey, I'm in jail, I can't make these payments?
22   marked as Deposition Exhibit No. 14 for                           22         A     She -- I can't remember contacting her, per
23   identification.)                                                  23   se, but like she obviously knew I was incarcerated.
24   BY MS. LAUGHLIN:                                                  24               (Whereupon, a document was produced and
25         Q      Show you what's been marked as Barasky 14.           25   marked as Deposition Exhibit No. 15 for

                                                                 110                                                                    112
1    What is that?                                                     1    identification.)
2          A      These are payments made.                             2    BY MS. LAUGHLIN:
3          Q      For what?                                            3          Q     Show you what's been marked as Barasky 15.
4          A      For the property.                                    4    What is that?
5          Q      Is it for where you were living at the time?         5          A     This is a letter from Aaron's rental,
6          A      It was student housing.                              6    furniture store.
7          Q      Okay. So the property address is 967 West            7          Q     The balance is $1,066.53. What is that for?
8    Fourth Street, 2E in Williamsport.                                8          A     Furniture I was renting through the business.
9          A      Yes.                                                 9          Q     What furniture were you renting?
10         Q      And so at the time that this incident                10         A     It was a couch.
11   occurred, you were not residing with your mother, you             11         Q     Just one couch?
12   were living at school housing?                                    12         A     Yes.
13         A      I was kind of bouncing around between all of         13         Q     And where -- where was the couch located?
14   them places.                                                      14         A     The couch was located at the address.
15         Q      Okay. But you had a lease for this 967 West          15         Q     The student housing?
16   Fourth Street?                                                    16         A     Yes.
17         A      I did.                                               17         Q     Did you ever pay Aaron's for what was owed?
18         Q      And while you were incarcerated, there were          18         A     I can't remember if I paid them or not.
19   payments still being made for the property?                       19   They're kind of like notorious for harassing you, so I
20         A      There was.                                           20   might of, but I can't remember honestly.
21         Q      Who is -- I'll spell the first name --               21         Q     And what happened to the couch?
22   M-E-R-C-H-E-L-E-L-Y-N, Fisher?                                    22         A     I can't remember what happened to the couch.
23         A      That's my sister.                                    23         Q     Okay. And Aaron's is a place where you kind
24         Q      Okay. It says she's a co-signer?                     24   of rent to own?
25         A      Yes.                                                 25         A     Yeah, it's kind of like a -- I'm not sure if


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1    you can -- I think it's different options. Like                   1          A     I'm pretty sure that I can get them either
2    honestly you can just maybe -- I don't know. I'm not              2    through my mother or --
3    even going to try act like I know how they --                     3          Q     So the document --
4          Q     What was the arrangement you had with Arron's         4          A     I'm sure they're available. Like I can't
5    for the couch?                                                    5    answer for her, per se, but something that I could
6          A     I had a lease taken out for the couch in the          6    probably manage to get ahold of.
7    hopes of renting to own it.                                       7          Q     So the document in front of you that's 70
8          Q     All right. So you were going to make                  8    some pages, it goes from Bates stamp 207 to 276, where
9    payments to pay for the purchase price?                           9    did that come from? Where did you get it?
10         A     Correct.                                              10         A     You can access them like off of the IRS
11         Q     And what were your payments supposed to be?           11   website, like --
12         A     I can't remember. I would have to like look           12         Q     Okay.
13   at the --                                                         13         A     Not sure if it's at IRS.gov or -- but they
14         Q     And when did you first get the couch?                 14   have a --
15         A     I can't remember.                                     15         Q     So is this document in front of you something
16         Q     Did you make any payments on the couch from           16   that you access from the government website?
17   the time that you secured it to when you were                     17         A     Yes.
18   incarcerated?                                                     18         Q     And you would agree with me that that doesn't
19         A     I can't remember if I did, but I believe so.          19   have any identifying information that that was your
20         Q     And if you had not been incarcerated, you             20   return?
21   still would have the bill to Arron's to pay for the               21         A     Yes, I don't see any on here.
22   couch, right?                                                     22         Q     There's no income entered on there?
23         A     I was -- I would have been able to pay it             23         A     There's income there.
24   like without being incarcerated.                                  24         Q     Where did you work in 20 --
25         Q     And you still would have had rent payments,           25         A     This is income. I mean, I can't tell. It

                                                                 114                                                                    116
1    had you not been incarcerated?                                    1    doesn't really say. Doesn't specify.
2          A     Yes.                                                  2          Q     You're pointing to the 12,000 --
3                MS. LAUGHLIN: Off the record.                         3          A     12,500. Doesn't really specify what it was.
4                (Whereupon, a discussion was held off the             4    There's nothing on here.
5    record.)                                                          5          Q     Did you have reportable income in 2021?
6                (Whereupon, a document was produced and               6          A     If I filed taxes, I -- more than likely. I
7    marked as Deposition Exhibit No. 16 for                           7    mean, I can't really tell you. I have to have a
8    identification.)                                                  8    conversation with --
9    BY MS. LAUGHLIN:                                                  9          Q     Do you have a specific memory of filing taxes
10         Q     Sir, I'm going hand you what was marked as            10   in 2021?
11   Barasky 16. That was provided to me in discovery.                 11         A     I can't remember, honestly.
12   That appears to be 2021 tax information, but there's              12               (Whereupon, a document was produced and
13   no name filled out. The only thing that's in there is             13   marked as Deposition Exhibit No. 17 for
14   the standard deduction. So did you file taxes for                 14   identification.)
15   2021?                                                             15   BY MS. LAUGHLIN:
16         A     I believe so.                                         16         Q     I'm going to show you what we've marked as
17         Q     And if you would have filed taxes for 2021,           17   Barasky 17, and that is a printout for -- from the IRS
18   who would have that been through? Did you do it on                18   for tax period ending December 31st of 2022. Do you
19   your own? Did you go to a company?                                19   see that?
20         A     I would have done it on my own, or sometimes          20         A     I do.
21   my mother helps me with it.                                       21         Q     And is this a form that you secured from
22         Q     All right.                                            22   somewhere?
23         A     Because I'm not really too savvy with like            23         A     I believe so, yes.
24   this --                                                           24         Q     And would that have been from that website
25         Q     And would you have kept copies of that?               25   that you were talking about?


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1           A    It's a possibility.                                   1    before this incident?
2           Q    Okay. So how come for 2022 you're able to             2          A      Again, it's kind of like the same thing
3    get a one-page document, but for 2021 what was                    3    with -- I don't really know them, per se, but I can
4    provided was 70 some pages without really any                     4    tell you if I seen him, who he was or to that nature.
5    information?                                                      5          Q      Ever arrested by Gardner before?
6           A    I can't really remember as far as if I was            6          A      I can't remember.
7    having any issues with accessing it or -- I can't                 7          Q      Did you ever sue a police officer before?
8    really go back to that specific time and tell you what            8          A      I haven't.
9    was going on.                                                     9          Q      Have you filed any suits against police
10          Q    And for 2022, it looks like your income was           10   officers or municipalities since this suit?
11   $60,239.                                                          11         A      I haven't.
12          A    That's what it says here.                             12         Q      Tell me how it was while you were
13          Q    And for 2022 were you only working one place?         13   incarcerated, did that have any kind of effect on you?
14          A    I can't remember as far as the times and              14         A      Well, I mean, it was, first and foremost, in
15   dates.                                                            15   the middle of the COVID pandemic, and in itself wasn't
16          Q    And would you have turned in W-2's with your          16   a traditional incarceration to begin with as far as
17   taxes?                                                            17   that you access to the courts, just in general your
18          A    Yes, I would have.                                    18   movement within the facility, certain stipulations.
19          Q    Do you still have copies of your W-2's?               19   Having to get tested, and that test wasn't the most
20          A    No, I wouldn't have them. Sometimes my                20   comfortable thing.
21   employers have them. Like on a portal you can access              21                As far as my experience, like there was COVID
22   them or different variations of things where I don't              22   outbreaks, so I could have contracted the -- I don't
23   always have them physically. Like my employer now,                23   know because I was asymptomatic potentially, so I
24   you have to get it on a portal that they have. Like               24   don't know if I actually contracted it. I know I was
25   they don't just actually like physically give it to               25   on a housing unit where the whole housing unit

                                                                 118                                                                     120
1    you.                                                              1    contracted it, so --
2           Q    There was an estimated lost wages or loss of          2          Q      And you said you were tested for COVID?
3    opportunity seeking employment listed in your                     3          A      Yeah, they came and kind of like -- it was
4    interrogatory answers of $27,720. How was that                    4    kind of like after the fact. Like once the outbreak
5    calculated? You're not going to find that on there.               5    occurred, it was kind of like a quarantine thing and
6           A    Yeah, I'm just trying to -- was looking at            6    then --
7    that, thinking about how it was calculated. I believe             7          Q      And you never tested positive?
8    at the time it was based off of like a projected 40               8          A      Not at the time I took the test, but it was a
9    hour work week with kind of like a medium income,                 9    possibility that I had it because of that window that
10   like -- but I can't really like elaborate on it, that             10   went by until -- like it wasn't initially that the
11   specific time when those things took place as far as              11   test came.
12   remembering them with certainty.                                  12         Q      But you didn't have any symptoms?
13          Q    Did you know Captain Joshua Bell before this          13         A      It was like with one or two guys contracted
14   interaction?                                                      14   it, went and got the test, and then it kind of just
15          A    Not personally, but I know him about as much          15   spread to -- people were just getting sick. But they
16   as he would know me, I guess. If I had to --                      16   didn't come and test everybody until like maybe two
17          Q    Did you have any other interactions with Bell         17   weeks after that.
18   before the date of your arrest on October 2nd, 2020?              18         Q      And you didn't have any symptoms of COVID?
19          A    I can't remember. Like we kind of like                19         A      Not that I can remember. But again, it's
20   see -- I kind of see them a lot, so I wouldn't know               20   like asymptomatic -- like you wouldn't -- I could have
21   what constitutes like a -- did we like talk or if I               21   it and not know that I have it until I'm falling out
22   just seen him. I can't really remember.                           22   or, you know, sick from it.
23          Q    Have you ever been arrested by Bell before?           23         Q      Other than it being during COVID while you
24          A    Not that I can remember.                              24   were incarcerated, was there any other difference for
25          Q    How about with Gardner, did you know him              25   the time period that you were incarcerated in


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1    2020/2021 compared to your prior incarcerations?                    1    day-to-day. You might have to get on the phone at
2          A       I think that's -- that experience speaks              2    7:00 in the morning, but you won't have access to
3    volumes. Like jail in general is a very uncomfortable               3    people. Because you may be -- like someone might
4    situation to be in and it's not something that I                    4    be -- you might have to work, so might not get to talk
5    really wish on anybody. But like I think just that                  5    to -- because you don't have the ability to dictate
6    period of time in -- that wasn't traditional. So to                 6    when you get on the phone to be able to access people.
7    have to be subjected to that at that time was kind                  7            Q   Are there other ways that you were able to
8    of detrimental in itself.                                           8    communicate with people outside of the prison?
9                  Just because of the things and the protocols          9            A   I mean, there were ways where like -- I
10   that were in place, like you wouldn't even ideally --               10   guess, maybe like a letter, but like that wasn't
11   for criminal procedure, you kind of scoot along the                 11   really like the -- what I really did, like as far as
12   process, but to be in there and everything's                        12   in prison, like.
13   suspended, you just sitting in there. And I think                   13           Q   Who is -- so I'll spell the first name,
14   just as far as my other experiences, all of them were               14   J-A-C-Q-U-L-A, last name Moore.
15   uncomfortable. None of them was like a walk in the                  15           A   Spell that again.
16   park thing.                                                         16           Q   J-A-C-Q-U-L-A.
17                 But like to be in there during the pandemic           17           A   Oh. Oh, that's a buddy of mine's wife or
18   when you can't even look to -- oh, I got court this                 18   significant other.
19   date or -- you just never knew. You're in suspense.                 19               MR. GRYSKEWICZ: I believe it's pronounced
20   Like you could have a court date and the judge could                20   Jacqula.
21   have COVID or your lawyer could have COVID or you                   21               THE WITNESS: Jacqula. Exactly.
22   could have COVID.                                                   22   BY MS. LAUGHLIN:
23                 And ideally like the experience of being able         23           Q   And were you in contact with her while you
24   to go in the courtroom traditionally, it affects you                24   were incarcerated?
25   in itself. You just looking on the screen, you can't                25           A   I spoke with her -- I can't remember how many

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1    hear, you don't know what's going on. Kind of just                  1    times. It wasn't a lot. It was just kind of like --
2    waiting in suspense around to get like legal mail or                2    I don't know, maybe like a hi or maybe like she
3    to be able to talk to -- or to be able to just kind of              3    reached out to me in some way and I just was kind -- I
4    be aware of your situation. There's times where like                4    can't really remember.
5    I can't remember me, per se, if it happened to me. I                5            Q   Who is Derrick Fisher?
6    can't really say it didn't happen to me, but we're                  6            A   That's my brother. My younger brother,
7    like, you looking on the -- you're participating over               7    sibling.
8    Zoom and you don't know what's going on.                            8            Q   How about Martin Kieser, K-I-E-S-E-R?
9                  Maybe the audio gets clipped, to where it's a         9            A   Oh, that's a friend of mine.
10   different experience than just being able to sit there              10           Q   And Kimberly Barasky is your mom?
11   and converse with your attorney, you know, have no --               11           A   Yes.
12   so that in itself. And not being able to see your                   12           Q   How about maybe Shenique Coates,
13   family. Like you -- there's no visitation in there.                 13   S-H-E-N-I-Q-U-E?
14   Like all that is suspended. You don't get to see                    14           A   That's a friend.
15   people, like your loved ones or you don't -- none of                15           Q   Kera Wright. K-E-R-A. Wright is
16   that is going on. So like the world had stopped.                    16   W-R-I-G-H-T.
17         Q       During that time you were incarcerated, did           17           A   That's a friend.
18   you have any visitors?                                              18           Q   Who is Free Myguyzz, F-R-E-E-E, Myguyzz,
19         A       Nobody had visitors.                                  19   M-Y-G-U-Y-Z-Z? Also maybe lil cuz.
20         Q       Were you able to communicate with anyone by           20           A   I can't -- I can't remember. I would
21   phone?                                                              21   probably have to see the contents of that conversation
22         A       Yeah, we all had access to the phone, but             22   to --
23   like it was like a period where like you couldn't pick              23           Q   Okay.
24   when you got on the phone because everybody's locked                24           A   -- to be able to tell you who exactly I
25   in. And so it's kind of like it rotates on a                        25   was -- I don't know who that one could be.


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1                 MS. LAUGHLIN: And off the record.                    1    there's a blank page there. So you got the right one
2                 (Whereupon, a discussion was held off the            2    now.
3    record.)                                                          3           A    Um-hum.
4                 (Whereupon, a document was produced and              4           Q    From Moore.
5    marked as Deposition Exhibit No. 18 for                           5           A    Yeah. 10/6/2020, you said?
6    identification.)                                                  6           Q    Correct. Actually it's the outgoing message
7    BY MS. LAUGHLIN:                                                  7    to Moore on 10/6/2020 at 9:10 a.m. It talks about how
8            Q    So I've handed you what we've marked as              8    you might need that lady we use for the power of
9    Barasky 18. This is what is called an inmate messages             9    attorney. Do you see that? It's the third line up
10   report, and it is a total of seven pages. Have you                10   from the bottom of that message.
11   ever seen this before?                                            11          A    Where -- here?
12           A    I've never seen one of these.                        12               MR. GRYSKEWICZ: Yeah, that's what she's
13           Q    Okay.                                                13   referring to.
14           A    But I think I'm -- I think I'm catching the          14               THE WITNESS: Okay. I see it.
15   drift of what it is.                                              15   BY MS. LAUGHLIN:
16           Q    And so how are these messages coming in?             16          Q    So what did you need with the lady with
17           A    There's like a -- kind of like a tablet              17   the -- that did the power of attorney?
18   looking device that's mounted onto the wall on the                18          A    I couldn't -- I can't -- I can't remember
19   housing unit. So it's kind of like if you put                     19   what I was talking about here or what I meant
20   maybe an iPad on the wall.                                        20   specifically at that time that I made this statement.
21           Q    And then does each individual inmate then            21          Q    So --
22   have some type of code to access it and have people               22          A    I can't go back to that.
23   contact you?                                                      23          Q    Were you making arrangement to take care of
24           A    There's like a -- I'm pretty sure there's a          24   any kind of bills or anything through having a power
25   login. I don't remember what the login is, but --                 25   of attorney?

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1            Q    Is it like gmail?                                    1           A    Again, I can't really remember. Like my
2            A    It's kind of like messaging. Like I can't            2    frame of mind at that time when I made the statement,
3    really -- I can't even really remember what it looks              3    I can't tell you like specifically what was going on
4    like to begin to try to describe it. It's like                    4    in my brain.
5    messaging.                                                        5           Q    And then at the end it says, this ain't
6            Q    Can you message back and forth in real time,         6    nothing, they just trying to steal my -- or steal my
7    like text?                                                        7    shine. That's all. LOL. Did I read that correctly?
8            A    Not in real time, but like it's a delay              8           A    That's what it says.
9    because it has to be cleared or however that -- I'm               9           Q    And then if you go to the next page.
10   not sure how that works. But like it's not like                   10          A    Page 3?
11   traditional like on an email or like texting on a                 11          Q    Correct. There was a message to Moore on
12   phone where you can get it right then and there.                  12   1:31 p.m.
13           Q    So on 10/3 of 2020 at the very bottom of the         13          A    1:31 p.m. 10/8/2020?
14   page there's a message from your mom. And it says,                14          Q    Correct. And it says, "I'm chilling, you
15   "Send me info so I can keep PUA going". Do you see                15   know. I'm used to this by now, sad to say." Do you
16   that?                                                             16   see that? It might not be in that one.
17           A    Yes, I see it.                                       17          A    Yeah, I'm looking for it. I can't see what
18           Q    What is PUA?                                         18   she talking about. Because this is an incoming, this
19           A    I can't remember what she would have been            19   isn't outgoing.
20   talking about at that time to be able to answer for               20          Q    Yeah, it's outgoing. My apologies. If you
21   her.                                                              21   look at -- still on Page 3, the 10/8/20 1:31 message
22           Q    Okay.                                                22   where it says -- this is from Moore. "The person that
23           A    I don't know what she was -- I would have to         23   does the thing for us does not do Lycoming County
24   ask her.                                                          24   Prison but I called the county for you and they said
25           Q    On the next page, 10/6/20 -- yeah, sorry,            25   they got somebody there that does it."


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1         A       Wait. I don't -- where is that at?                    1            Q   Did you have any other properties that Kira
2         Q       It's at the -- towards the end of the second          2    Wright would be going over to your house while you're
3    line of that message.                                              3    incarcerated?
4         A       Okay. All right. I follow you.                        4            A   I can't remember, honestly.
5         Q       "Somebody there that does it. I don't know            5            Q   Now, on that same page at the top there's an
6    what you need done but at least I can help you with                6    outgoing message from you to Moore from 10/10/2020 at
7    that." What were you trying to get done at the                     7    8:37 a.m. And the second line you say, "I'm used to
8    county? Does that again deal with the power of                     8    these environments, sadly." Do you see that?
9    attorney thing?                                                    9            A   Yes.
10        A       I mean, she -- this is her statement, so I            10           Q   Would you agree that you're used to those
11   can't really testify what she meant by that.                       11   environments, meaning being incarcerated or in jail?
12        Q       Who's Abraham?                                        12           A   Meaning?
13        A       That is her -- her son.                               13           Q   Those are your words. You said, "I'm used to
14        Q       And then there were some messages from Kira           14   these environments". So you're used to being in jail?
15   Wright where she was going to get the key to your                  15   Or did you mean something else?
16   residence. Would that be the student housing?                      16           A   From the looks of it, I mean, it could be --
17        A       I'm not sure. I can't remember. I would               17   I'm not sure what I meant at the time of me saying it.
18   have to go and try to put myself back at that time of              18   Like it could have been -- it could have been me
19   that conversation and what it was pertaining to.                   19   trying to reassure a female that I'm talking to. Like
20        Q       So if you look at Page 4, the very first              20   I may be overwhelmed, but I just can't really tell you
21   entry, it was incoming from Kira Wright. "I responded              21   what I meant. Because as a human being you could say
22   to your letter this morning. I've been trying to get               22   one thing but really be just trying to reassure
23   in contact with your mother all day but she's ignoring             23   somebody that may be weaker than you are.
24   me. I was going to get the key and I needed to ask                 24           Q   You go on to say, "Just waiting on my moment.
25   her something else, I forget." Does that -- or does                25   Either way you know I'm built Ford tough." Would you

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1    that refresh your recollection of that time period and             1    agree you're built Ford tough?
2    that she was getting your key?                                     2            A   Again, that would be a -- that could be me
3         A       I can't remember, honestly.                           3    figuratively speaking just to try to reassure. It
4         Q       There was another message where she was going         4    could be many things. I can't really tell you what I
5    to go to your house and put clothes away and dust. Do              5    meant or what my mind frame was at that time.
6    you recall her doing that for you?                                 6            Q   And then it says, "If you can see what
7         A       I can't remember that time or even having             7    exactly I need for the county people to be able to get
8    conversations a couple years ago.                                  8    my property released, then LMK". Let me know.
9         Q       So on Page 5 at 10/10/2020, incoming call             9    Thanks. Was Ms. Moore checking with the county to get
10   10:59 a.m., Kira Wright. She was at your house taking              10   your property released at that time in October of
11   a poop. It says it's a little dusty in here and                    11   2020?
12   cobwebs. Laugh out loud. You haven't been gone that                12           A   I'm not sure if she actually -- I can't
13   long, have you. I'm going to dust and put your clean               13   remember if she actually did or didn't.
14   clothes away. It goes on to say, Mauras having a                   14           Q   And then you go to say, "It's not about how
15   party tonight so me and Meg's gunna pregame here if                15   you start, it's how you finish." Do you recall saying
16   you don't mind. Does that refresh your recollection                16   that?
17   at all that it would have been at the student housing              17           A   I mean, I read it here. But again, I
18   as opposed to the other place where you lived with                 18   couldn't really tell you what I meant or what was my
19   your mom?                                                          19   mind set, my intention behind what I'm saying. Could
20        A       I'm not sure. I would have to --                      20   be literally me --
21        Q       Did you have any other houses --                      21           Q   Did you have a plan with Matthew Sumpter to
22        A       -- put myself into that time frame and -- I           22   set up a buy as a confidential informant or source in
23   can't really like remember it. Probably any of these               23   order to get pulled over and then have a civil rights
24   comments, it's kind of hazy to me. It's a couple                   24   suit against the officers that pulled you over or
25   years ago.                                                         25   arrested you?


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1           A     Can you repeat that question?                         1    possession, honestly. I don't -- I can't recall.
2           Q     Sure. Did you come up with a plan with                2             Q   Do you recall if you had cash on you when you
3    Matthew Sumpter in order for him to give information               3    were pulled over?
4    to the police that they would in turn pull you over                4             A   I can't recall that, either.
5    and arrest you so that you could have a suit against               5             Q   Can you -- can you recall if -- I think -- I
6    them to get money?                                                 6    think you may have already answered this, but can you
7           A     Like conspire with -- like a conspiracy?              7    recall if anything was -- any other property was taken
8           Q     Kind of.                                              8    from the police other than the phone?
9           A     Ask me the question one more time.                    9             A   I can't recall, no.
10          Q     Sure.                                                 10            Q   When you were -- you were driving down Eckard
11          A     Please, so I just make sure I understand it.          11   Road, did you turn right onto Miller Road?
12          Q     So did you and Matthew Sumpter make                   12            A   I'm not familiar --
13   arrangements where he was going to provide information             13                MR. GRYSKEWICZ: Yeah, I'd direct you not to
14   to the police in turn so they were try to arrest you,              14   answer the question and exercise your Fifth Amendment
15   but you wouldn't have anything on you, and then you                15   rights.
16   could turn around and sue the officers that arrested               16                THE WITNESS: On the advice of counsel, I
17   you?                                                               17   wish to invoke my Fifth.
18          A     No. That would be crazy.                              18   BY MR. WHITE:
19          Q     Now, the last message on Page 5 from                  19            Q   I'm going ask you some questions about the
20   10/10/20, that was from Free Myguyzz. And it says,                 20   complaint that your attorney filed on your behalf
21   lil cuz. You said you didn't know who that was. Can                21   here, the second amended complaint. In Paragraph 43
22   you read that and then does that give you any clue as              22   I'm going to read verbatim. It says, "At Detective
23   to who was known that way?                                         23   Dent's direction, Mr. Sumpter contacted a person via
24          A     I can't tell you, but it appears that it's            24   telephone who Mr. Sumpter alleged was Plaintiff, to
25   somebody that I didn't -- I didn't see. I can't --                 25   purchase heroin." Do you understand what I just read

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1    but again, I can't tell you who that is.                           1    to you? Are you familiar with that allegation?
2           Q     And then the next page, on Page 6 at the very         2             A   Can you repeat that?
3    top there's another message from Free Myguyzz. If you              3             Q   I'm going to read a paragraph from your
4    could read that and let me know if that gives you a                4    second amended complaint. It's Paragraph 43. "At
5    clue as to who that person is.                                     5    Detective Dent's direction, Mr. Sumpter contacted a
6           A     Looks like the same message.                          6    person via telephone, who Mr. Sumpter alleged was
7           Q     On Page 6?                                            7    Plaintiff, to purchase heroin." Do you understand
8           A     Right here?                                           8    what I just said?
9           Q     Correct. At the very top.                             9             A   I understand what you just read.
10          A     Yeah, it looks like the same --                       10            Q   Who did Mr. Sumpter contact by telephone that
11          Q     Okay.                                                 11   day to purchase heroin?
12          A     -- message. The exact same message.                   12                MR. GRYSKEWICZ: I would direct you not to
13          Q     One was at 6:58, one was at 6:59. Okay.               13   answer that question and exercise your Fifth Amendment
14          A     Yeah, that's the exact same message.                  14   right.
15                MS. LAUGHLIN: I don't have any other                  15                THE WITNESS: On advice of my counsel, I wish
16   questions for you, but the other attorneys may. Thank              16   to invoke my Fifth Amendment.
17   you.                                                               17   BY MR. WHITE:
18                                CROSS-EXAMINATION                     18            Q   Paragraph 44 was -- states that, "The only
19   BY MR. WHITE:                                                      19   information Detective Dent had to demonstrate
20          Q     Mr. Barasky, I represent Detectives Dent and          20   Plaintiff was the person contacted by Mr. Sumpter was
21   Detective Havens. I'm just going to ask you a few                  21   Mr. Sumpter's uncorroborated and false accusations."
22   questions.                                                         22   The question I have for you is, what were Mr.
23                When you were pulled over on October 2nd,             23   Sumpter's uncorroborated and false accusations?
24   2020, did you have a wallet in your possession?                    24            A   Say that again.
25          A     I can't remember what was exactly in my               25            Q   Paragraph 44 of the complaint says, "The only


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1    information Detective Dent had to demonstrate                    1          Q      That is an allegation from your complaint.
2    Plaintiff was the person contacted by Mr. Sumpter was            2    So I'm asking you if that paragraph from your
3    Mr. Sumpter's uncorroborated and false accusations."             3    complaint is true.
4    What were Mr. Sumpter's uncorroborated and false                 4          A      Would that be an allegation from something
5    accusations? That's the question.                                5    that was in the criminal complaint?
6               MR. GRYSKEWICZ: I direct you not to answer            6          Q      Your attorney -- so, your attorney filed --
7    that question and exercise your Fifth Amendment                  7          A      Because I'm trying to understand what's going
8    rights.                                                          8    on before I answer you.
9               THE WITNESS: On the advice of counsel, I              9          Q      I understand. So your attorney filed a
10   wish to invoke my Fifth Amendment.                               10   complaint on your behalf in this case, which is why
11   BY MR. WHITE:                                                    11   we're here. The second amended complaint is the
12        Q     On October 2nd, 2020, did you speak with Mr.          12   operative complain that we're working on today.
13   Sumpter on the phone?                                            13   Paragraph 53 of that second amended complaint states,
14              MR. GRYSKEWICZ: I would direct you to not             14   "Plaintiff was driving in Old Lycoming Township on
15   answer that question and exercise your Fifth Amendment           15   October 2nd, 2020", and I'm asking you if that
16   rights.                                                          16   statement is correct?
17              THE WITNESS: On the advice of the counsel, I          17         A      It would depend on who's made the statement.
18   wish to invoke my Fifth Amendment.                               18   I don't know -- I'm not aware of who made the
19   BY MR. WHITE:                                                    19   statement.
20        Q     On October 2nd, 2020, did you agree to sell           20         Q      Let me ask it another way.
21   Mr. Sumpter three grams of Fentanyl?                             21         A      Yeah, can you -- go ahead.
22              MR. GRYSKEWICZ: On -- I would direct you not          22         Q      Were you driving in Old Lycoming Township on
23   to answer that question and exercise your Fifth                  23   October 2nd, 2020?
24   Amendment rights.                                                24         A      Yes.
25              THE WITNESS: On the advice of counsel, I              25         Q      Paragraph 54 of the same -- of the second

                                                                138                                                                     140
1    wish to invoke my Fifth Amendment.                               1    amended complaint says, "Plaintiff did not arrive at
2    BY MR. WHITE:                                                    2    any alleged meeting location for the alleged drug sale
3         Q     Prior to October 2nd, 2020, had you ever sold         3    with the confidential informant." Is that correct?
4    Fentanyl to Mr. Sumpter?                                         4          A      Can you repeat that?
5               MR. GRYSKEWICZ: I direct you not to answer            5          Q      "Plaintiff did not arrive at any alleged
6    that question and raise your Fifth Amendment rights.             6    meeting location for the alleged drug sale with the
7               THE WITNESS: On the advice of counsel, I              7    confidential informant." Is that correct?
8    wish to invoke the Fifth Amendment.                              8          A      Plaintiff did not arrive -- can you repeat
9    BY MR. WHITE:                                                    9    that, please?
10        Q     Paragraph 53 of the complaint states                  10         Q      Certainly. "Plaintiff did not arrive at any
11   verbatim, "Plaintiff was driving in Old Lycoming                 11   alleged meeting location for the alleged drug sale
12   Township on October 2nd, 2020." Is that a true                   12   with the confidential informant." Is that a correct
13   statement? I can read it again.                                  13   statement?
14        A     Yeah, please.                                         14         A      It's kind of hard for me to answer that
15        Q     Paragraph 53 of the complaint states,                 15   question. I think I'm being confused by --
16   "Plaintiff was driving in Old Lycoming Township on               16         Q      Let me show you --
17   October 2nd, 2020." Is that a true statement?                    17         A      -- the alleged element of the question.
18        A     Can you repeat that one more time for me?             18         Q      I have the second amended complaint in front
19        Q     Sure.                                                 19   of me that I'll ask you to take a look at. And I
20        A     Sorry.                                                20   understand that sometimes it's a little bit difficult
21        Q     Paragraph 53 of the second amended complain           21   to hear someone reading something to you that is
22   states verbatim, "Plaintiff was driving in Old                   22   written out. So I'd ask the same question, but only
23   Lycoming Township on October 2nd, 2020." Is that a               23   I'll place it in front of you and I'll ask you to
24   true statement?                                                  24   confirm whether or not this allegation is true and
25        A     Who made the statement?                               25   correct. And so it's Paragraph 54. And the question


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1    is whether or not Paragraph 54 is true and correct?               1    a result of the actions alleged in this case?
2         A       I would answer correct.                              2          A       You said explain to you how my reputation has
3         Q       And then if you could turn to Paragraph 69.          3    been damaged --
4    69 states, "Plaintiff's vehicle never reached the                 4          Q       Yes.
5    purported meeting location for the alleged drug                   5          A       -- as a result of the Defendants --
6    transaction." Is that statement true and correct?                 6          Q       Correct.
7         A       I don't know purported -- the definition of          7          A       To answer your question, I would say it's
8    the word purported. Can you give the definition of                8    embarrassing to be involved with an arrest or anything
9    purported, please?                                                9    pertaining to allegedly breaking a law or any type of
10        Q       Purported, according to the Oxford                   10   things with law enforcement. So this is like a small
11   dictionary, means appearing or stated to be true,                 11   place, as some of us know or don't know. And as a
12   though not necessarily so. Alleged.                               12   result of that, there are a lot of people that are
13        A       I would answer correct.                              13   business owners or potential job opportunities or a
14        Q       Where would your vehicle have traveled, had          14   variety of different things where that can kind of --
15   it not been stopped by the officers?                              15   that hearsay or being involved in that type of thing
16                MR. GRYSKEWICZ: I would instruct you not to          16   can kind of close the door on opportunity that could
17   answer that question and exercise your Fifth Amendment            17   have been afforded to me, based off of maybe element
18   rights.                                                           18   of prejudice or just in the back of a human person
19                THE WITNESS: On advice of counsel, I wish to         19   mind, like I don't want to deal with this person, even
20   invoke my Fifth Amendment.                                        20   if it's right or wrong, whatever it is.
21   BY MR. WHITE:                                                     21                 Like just the fact that it's out there. It
22        Q       Paragraph 120 states, "Additionally, after a         22   could be a false narrative or it could be untrue, but
23   search of Plaintiff's person and vehicle were                     23   just the fact that it initially went out is enough for
24   performed and no contraband was located, there was no             24   me not to be afforded certain opportunities.
25   probable cause to continue Plaintiff's arrest and/or              25         Q       Were there any newspaper articles printed

                                                                 142                                                                      144
1    detention since Mr. Sumpter's uncorroborated                      1    about the October 2nd, 2020 arrest?
2    statements were proven false." Did I read that                    2          A       I'm not sure. I can't remember if there were
3    correctly?                                                        3    or weren't.
4         A       Can you re-read that for me? I can follow            4          Q       Do you recall ever seeing one?
5    along with it.                                                    5          A       I mean, I was incarcerated, so I -- I don't
6         Q       "Additionally, after a search of Plaintiff's         6    know if it came out. I don't recall seeing it.
7    person and vehicle were performed and no contraband               7          Q       Did anyone ever tell you that they read about
8    was located, there was no probable cause to continue              8    you being arrested on October 2nd, 2020?
9    Plaintiff's arrest and/or detention since Mr.                     9          A       I can't remember if somebody mentioned it to
10   Sumpter's uncorroborated statements were proven                   10   me or if it was in that way that you're asking,
11   false." Did I read that correctly?                                11   through like viewing it in the newspaper. I really
12        A       You did.                                             12   can't remember.
13        Q       What statements of Mr. Sumpter was proven            13         Q       So you can't recall anyone saying, I read
14   false?                                                            14   about you getting arrested?
15                MR. GRYSKEWICZ: I'd instruct you not to              15         A       I can't recall if they did or didn't.
16   answer that question and exercise your Fifth Amendment            16         Q       But you have no specific recollection of
17   rights.                                                           17   someone telling you that?
18                THE WITNESS: On the advice of counsel, I             18         A       No, I don't. Not that I can remember.
19   wish to invoke my Fifth Amendment.                                19         Q       Now, in -- as far as your arrest in 2016,
20   BY MR. WHITE:                                                     20   were there newspaper articles about that?
21        Q       In Paragraph 90 -- this is the last one I'll         21         A       I can't remember. I can't remember. I don't
22   ask you about the complaint, so -- it states,                     22   want to answer that, because honestly, I can't
23   "Plaintiff's reputation has been damaged because of               23   remember if there were or weren't.
24   Defendant's unconstitutional actions." Can you                    24         Q       I show you what we'll mark as -- I'm not sure
25   explain for me how your reputation has been damaged as            25   what number we're at.


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1                MR. BLANK: 19.                                       1    dealer? Do you understand that?
2                MR. WHITE: 19 and 20.                                2            A   I understand it, but I can't recall seeing
3                (Whereupon, two documents were produced and          3    these things.
4    marked as Deposition Exhibit Nos. 19 and 20 for                  4                MR. WHITE: I don't have any further
5    identification.)                                                 5    question.
6    BY MR. WHITE:                                                    6                                CROSS-EXAMINATION
7           Q    Which are two newspaper articles that are            7    BY MR. KOZLOWSKI:
8    publicly available. 19 with a picture on it, listed              8            Q   Just a couple. Mr. Barasky, we've been going
9    in Northcentralpa.com, "Convicted drug dealer leads              9    for a little bit. I won't keep you here much longer.
10   police on pursuit and crashes into Kmart." And then              10           A   That's fine.
11   the other article from the Williamsport Sun-Gazette              11           Q   My name is Mark Kozlowski. I represent
12   that reads, "Police: Fleeing motorist tossed bags of             12   Christopher Kriner, Joseph Hope and Old Lycoming
13   drugs before crash." Have you ever seen either of                13   Township in this case.
14   these articles before?                                           14               You've already been asked a series of
15          A    Not that I can remember. I don't -- I don't          15   questions about the arrest and the time leading up to
16   remember if I ever have.                                         16   it and the time after, but I want focus your attention
17          Q    And these -- so you have no knowledge of             17   specifically on Old Lycoming Township's officers that
18   these being printed?                                             18   were on scene that day. As you sit here, can you tell
19          A    Not that I can remember. It was a long time          19   me specifically what involvement Christopher Kriner
20   ago.                                                             20   had in your arrest on October 2nd of 2020?
21          Q    Do you recall in terms of the Sun-Gazette            21           A   I don't specifically know them by name, per
22   article, it's alleged that you tossed dozens of bags             22   se.
23   of heroin out the window during a high speed pursuit?            23           Q   Okay.
24   Is that correct? During this event in 2016.                      24           A   But I'm familiar with the presence of Old
25          A    All right. Is it correct that these are              25   Lycoming Township and like how to distinguish them

                                                                146                                                                    148
1    allegation or --                                                 1    from one another.
2           Q    No, I'm asking you if that's correct, that           2            Q   Did you know Officer Kriner at that time,
3    you did, in fact, toss bags of heroin out the window             3    Sergeant Kriner, to see him?
4    during the high speed pursuit that led to your arrest            4            A   I didn't know like him personally, like to be
5    in 2016?                                                         5    able to -- I just was aware that he was Old Lycoming
6           A    I can't remember if I did or didn't. That's          6    Township.
7    an awful long time ago.                                          7            Q   The same question with respect to Chief Hope,
8           Q    You pled guilty to the charges that came out         8    Joseph Hope, would you have known Chief Hope to see
9    of that arrest, though, correct?                                 9    him at that point on October 2 of 2020?
10          A    Correct, I pled guilty to them.                      10           A   Again, I don't know him like personally.
11          Q    And that included a drug charge?                     11           Q   Okay. You said there were -- but you knew
12          A    PWID charge, yes.                                    12   the Old Lycoming Township police officers were at
13          Q    And I think did you say it was a fleeing             13   least on scene that day, is that right?
14   charge or --                                                     14           A   Correct.
15          A    Fleeing and -- what was it evading? And              15           Q   Okay. Can you tell me if any of them removed
16   criminal mischief.                                               16   you from the vehicle?
17          Q    And the September 19, 2016,                          17           A   I can't remember, honestly. I just -- from
18   Northcentralpa.com article refers to you as a                    18   what I can recall from that day, they were blocking
19   convicted drug dealer. Correct?                                  19   the road off in front of me. As far as what they did
20          A    Which one would that be, with the picture?           20   after that, I really can't -- I was kind of focusing
21          Q    That's the one with the picture.                     21   on --
22          A    That's what it says here.                            22           Q   Okay.
23          Q    Do you understand that at the time -- prior          23           A   -- the people directly --
24   to your arrest in 2020, that you were already being              24           Q   And I'm just going to ask you a couple other
25   referred to in the news media as a convicted drug                25   quick questions with that. Do you know for sure if


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1    any -- for sure or not, whether any Old Lycoming                 1    BY MR. KOZLOWSKI:
2    Township police officers were involved in placing you            2         Q       Okay. If Matthew Sempter had told police
3    on the ground?                                                   3    that you had sold him Fentanyl about a hundred times,
4         A      I can't answer like with confirmation if --          4    is that true?
5    who specifically. I just can remember like my                    5                 MR. GRYSKEWICZ: I'll instruct you not to
6    immediate --                                                     6    answer that question and exercise your Fifth Amendment
7         Q      Do you know if any of the Old Lycoming               7    rights.
8    Township officers were involved in placing you in                8                 THE WITNESS: On the advice of counsel, I
9    handcuffs?                                                       9    wish to invoke my Fifth Amendment.
10        A      I can't remember. I was face down and I              10                MR. KOZLOWSKI: Okay. Those are all the
11   wasn't able to see kind of what was going on.                    11   questions I had. Thank you, sir.
12        Q      Do you know if any of the Old Lycoming               12                MS. LAUGHLIN: Nothing else.
13   Township police officers were involved in transporting           13                               CROSS-EXAMINATION
14   you from the scene to the police station?                        14   BY MR. GRYSKEWICZ:
15        A      I can't remember who transported me.                 15        Q       I have one brief follow up. Mr. Barasky,
16        Q      Were any of the Old Lycoming Township                16   would you agree with me that many of the allegations
17   officers involved in your strip search once you got              17   in the second amended complaint in this case, the
18   back to the police station?                                      18   knowledge in those allegations were gleaned from the
19        A      I can't remember if they were. There was --          19   police reports you received during the criminal case?
20   like the door was open and it was a small space and              20        A       Yes, sir.
21   there was people outside of the door, but I can't                21                MR. GRYSKEWICZ: That's all I have.
22   remember as far as who it was.                                   22                MS. LAUGHLIN: Nothing.
23        Q      Do you know whether or not any of the Old            23                MR. KOZLOWSKI: Nothing else.
24   Lycoming Township police officers were involved in               24                (Whereupon, the deposition was concluded at
25   transporting you from the police station to the                  25   4:35 p.m.)

                                                                150                                                                         152
1    Wilkes-Barre -- or excuse me, Wilkes-Barre --                    1    COUNTY OF UNION                        :
2    Williamsport Police Department?                                  2    COMMONWEALTH OF PENNSYLVANIA
                                                                                                    :
3         A      I can't remember, honestly.                          3

4         Q      Do you know, as you sit here, whether or not         4                 I, Ervin S. Blank, the undersigned Notary
5    any of the Old Lycoming Township police officers filed           5    Public, do hereby certify that personally appeared
6    any criminal charges against you?                                6    before me, ANTHONY BARASKY; the witness, being by me
7         A      Not to my knowledge, I don't --                      7    first duly sworn to testify the truth, the whole truth
8         Q      Sir, do you know what Fentanyl is?                   8    and nothing but the truth, in answer to the oral
9         A      Do I -- me? Do I know?                               9    questions propounded to him by the attorneys for the
10        Q      Yeah.                                                10   respective parties, testified as set forth in the
11        A      Not specifically. Like I can't tell you              11   foregoing deposition.
12   what -- can't go into detail, but I'm familiar with              12                I further certify that before the taking of
13   the term.                                                        13   said deposition, the above witness was duly sworn,
14        Q      Would you agree with me that Fentanyl is a           14   that the questions and answers were taken down
15   narcotic?                                                        15   stenographically by the said Ervin S. Blank, Court
16        A      I'm not sure if it's -- well, maybe it's             16   Reporter, Lewisburg, Pennsylvania, approved and agreed
17   classified as a narcotic now. I'm not -- I can't tell            17   to, and afterwards reduced to typewriting under the
18   you. I don't know.                                               18   direction of the said Reporter.
19        Q      Okay. Have you ever sold anyone Fentanyl             19                In testimony whereof, I have hereunto
20   before?                                                          20   subscribed my hand this 29th day of March, 2024.
21               MR. GRYSKEWICZ: I would instruction you not          21

22   to answer that question and exercise your Fifth                  22

23   Amendment rights.                                                23                                       __________________________
                                                                                                               Ervin S. Blank
24               THE WITNESS: On the advise of counsel, I             24                                       Reporter-Notary Public
                                                                                                               My Commission Expires
25   wish to invoke my Fifth Amendment.                               25                                       January 28, 2025


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